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                               EXHIBIT 10




                               EXHIBIT 10



                                                                     Exhibit 10
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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

    VERNON UNSWORTH,                                      Case No. 2:18-cv-08048-SVW (JC)

           Plaintiff,                                     DECLARATION OF DR. ROB HARPER

    V.


    ELON MUSK,

           Defendant.


            I, Rob Harper, declare as follows:

            1.     I am over the age of 18 years, have personal knowledge of the facts contained in

    this declaration, and can competently testify to them.

           2.      I understand that this Declaration may be used by Plaintiff Vernon Unsworth in

    support of his defamation case in the above matter.

           3.      I am a British citizen and resident. I am a veterinary surgeon by occupation and

    for about 50 years my primary recreation has been caving both in the UK and around the world.

    It was in this context that I first met Vernon Unsworth in 2014 when he invited me and Martin

    Ellis to join him on an exploration of the Tham Luang cave system.

           4.      Since that visit in 2014 I have been back to Thailand on multiple occasions for the

    purpose of exploring and surveying the far reaches of Tham Luang with Vernon and looking at

    other caves in the area.

           5.      Vernon joined the cave rescue in June 2018 without hesitation and it was through

    his recommendation that I became involved. I am a cave diver but I didn't actually dive in the

    rescue, I provided in-depth knowledge of the cave system and its layout to the divers and other

    members of the rescue operation. People would approach Vernon and I with ideas as to how to

    get the boys out, and we would provide an opinion as to whether the idea would work, or




                                                                                          Exhibit 10
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   highlight any problems that we foresaw. I also spent time with Vernon looking for shafts or

   passages on the surface of the mountain in the hope there may be another way down into the

   caves.

            6.    I interacted with the dive rescue team on a daily basis. We shared the same

   accommodation and each day Vernon would bring us all breakfast and we would discuss the

   rescue. Whenever the divers weren't in the caves we would discuss any problems they were

   facing. Vernon, the divers and I were together as one group and would spend at least a couple of

   hours together each day. I never saw or heard of anyone refusing to interact with Vernon nor was

   he ever asked to leave the site.

            7.    Vernon was up every morning before us and would often be the last of us to leave

   in the evening. During the rescue, he worked tirelessly around the clock to assist in whatever

   way he could, giving 100% despite the substantial cost to his physical and emotional welfare.

   He ran himself absolutely ragged and got more and more haggard in appearance every day.

            8.     Knowing Vernon as I do, I never expected anything else and I am convinced that

   without his efforts the chances of a successful outcome would have been very low indeed. I

   would describe Vernon as a lynchpin of the operation. He spent a lot of time talking to the Thai

   authorities and it was Vernon who suggested that they contact me, Rick Stanton and John

   Volanthen. Once we were there he facilitated the progress of the dive teams; if we needed

   something Vernon would help make sure it happened. Due to our knowledge of the cave system,

   Vernon and I were also able to advise on the viability or otherwise of various proposed

   strategies, to ensure that time and effort were not wasted.

            9.     Regarding Elon Musk's allegations that Vernon is the kind of 'sexual tourist' who

   would engage in child rape, marrying a child bride or any other forms of paedophilia, I have




                                                                                          Exhibit 10
                                                                                          Page 415
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 never seen any behavior nor heard Vernon express any sentiments that could possibly be

 interpreted in that light. Vernon has never mentioned visiting Thailand before 2011 and I have

 never heard anyone else contradict that.

         10.     The man I know is a generous person with immense personal integrity. He is

 utterly dependable. I have trusted him with my life and would do so again. Unequivocally, I am

 proud to say that Vernon Unsworth is my friend.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

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                                                                                         Exhibit 10
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                               EXHIBIT 11




                               EXHIBIT 11



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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

 VERNON UNSWORTH,                                    Case No. 2:18-cv-08048-SVW (JC)

      Plaintiff,                                     DECLARATION OF MR. MARTIN
                                                     ELLIS
 V.

 ELON MUSK,

       Defendant.


       I, Martin Ellis, declare as follows:

              1.      I am over the age of 18 years, have personal knowledge of the facts

           contained in this declaration, and can competently testify to them.

              2.       I understand that this Declaration may be used by Plaintiff Vernon

          Unsworth in support of his defamation case in the above matter.

              3.       I am a British citizen and resident who, as a pastime, has been caving

           and researching the caves of Thailand since 2000. I maintain a website on Thai

           caves (https://www.thailandcaves.shepton.org.uk/) and have authored several

           papers and guidebooks on the caves of the country. I have extensive knowledge

           about, and information on, the caves of Thailand.

              4.       I first came into contact with Vernon Unsworth in June 2012. Mr

           Unsworth got in touch with me via the contact form on the Thailand caves

           website, when he returned to the UK after 7 weeks in Chiang Rai. He had spent a

           lot of his time on this trip exploring Tham Luang Nang Non and was after more

           information on the cave. This was the start of an extensive and continuous

           correspondence on Tham Luang Nang Non and the nearby cave of Tham Sai

           Thong.

              5.       I first met Mr Unsworth in person in March 2014 when Robert Harper




                                                                                      Exhibit 11       .
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          and I visited him and his partner Woranan 'Tik' Rattawipakhun between 6 and 13

          March, staying at the home of Ms Woranan's parents near Huai Krai, Chiang Rai.

          On this visit we surveyed and explored in Tham Luang, Tham Sai Thong and a

          few other caves in Chiang Rai. The next time I visited Mr Unsworth was in July

          2016 when my wife and I visited Huai Krai, staying in a nearby hotel, from 4 to 7

          July. Due to the time of year the weather was too wet to do much more than visit

          some of the smaller caves.

             6.      Mr Unsworth has been exploring Tham Luang Nang Non at every

          opportunity since that visit in 2012. He has extended the length of the cave by

          over 4 km and has very nearly connected Tham Luang Nang Non to the nearby

          Tham Sai Thong. It would be fair to say that no one has a better knowledge or

          understanding of the cave system in Doi Nang Non mountain, including its

          speleology and hydrology. He is well known locally, with the Forest Park staff

          and villagers, for the amount of time he has spent in the cave, so it came as no

          surprise to learn that Mr Unsworth was called in the early hours of the morning of

          the 24 June 2018 when the first rescue party came out of Tham Luang when they

          found the cave flooded.

             7.      Later in the morning of the 24 June my wife saw Ms W oranan's

          Facebook post which mentioned that Mr Unsworth was involved in the rescue.

          From then onwards I followed the rescue operation closely and provided remote

          assistance by sending cave maps to Mr Unsworth and others involved in the

          rescue. For example, I was in email contact with the deputy director and director

          of the Thai Department of Mineral Resources helping them to understand the cave

          system.

             8.      After the British Cave Rescue Council got involved in the rescue on




                                                                                      Exhibit 11.
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          the 26 June they asked me to write a briefing document for their council members.

          I continued to give the British Cave Rescue Council background information on

          the progress of the rescue. I was then sent to the site as part of the British Cave

          Rescue Council rescue team on the 6 July to support the British divers, and I

          stayed there until the 11 July.

             9.      In my opinion, if it wasn't for Mr Unsworth's presence at Tham Luang

          from the start of the rescue all thirteen of the trapped party would now be dead.

          Mr Unsworth spent all 17 days either in Tham Luang or searching the mountain

          above the cave. It was Mr Unsworth who on 26 June very forcibly insisted that the

          Thai authorities request the assistance of the British cave divers, supplying them

          with the names and phone numbers of the divers. Mr Unsworth knew that the dive

          operation needed that expert assistance, and I don't know of anyone else that close

          to the centre of the rescue who could have insisted on the recruitment of outside

          cave divers.

             10.     When the cave divers arrived at Tham Luang it was Mr Unsworth's

          detailed knowledge of the cave that aided the divers in their search. During the

          actual rescues on 8, 9 and 10 July 2018 Mr Unsworth was in Chamber 2 of Tham

          Luang assisting with the transfer of the stretchers on the 'ziplines' section.

             11.     At no stage was Mr Unsworth requested to keep away from the cave,

          and he was consulted throughout the rescue operation by the Thai rescue

          leadership, the British cave dive team, and the other foreign rescue teams. Nor

          did I observe or learn that the dive team refused to hang out or associate with Mr

          Unsworth, either during the rescue or afterwards.

              12.    Mr Unsworth's essential and pivotal role in the Tham ~uang rescue is

          recognised at the highest level by the Thai authorities. We have both been




                                                                                           Exhibit 11
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            awarded the Most Admirable Order of Direkgunabhom (Second Class) in

            recognition of our work at the rescue and have both been invited to be advisors to

            the Thai National Committee for Cave Management Policy.

                13.     Concerning the allegations that have made against Mr Unsworth

            following the rescue, at no time during the past 7 years of e-mails, phone

            conversations or my two visits to Huai Krai have I seen him exhibit any behaviour

            even remotely akin to that of which he has been accused by Elon Musk. I have

            never known him to have engaged in any sexual activity with a minor, to have

            married a minor, to have arranged to marry a minor, or to have expressed any

            interest in sexual activity with a minor; nor had I heard of anyone accuse him of

            such conduct other than Mr Musk. To the best of my knowledge, Mr Unsworth

            had not visited Thailand before 2011, and he first visited after he met Ms

            Woranan when they were both living in the UK.

                14.     I am still in regular communication with Mr Unsworth, and I have

            visited him in Chiang Rai in March and July 2019.



        I declare under penalty of perjury under the laws of the United States of America that

 the foregoing is true and correct.



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                                                          Mr. Martin Ellis




                                                                                         Exhibit 11
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                                EXHIBIT 12




                                EXHIBIT 12



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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

    VERNON UNSWORTH,                                       Case No. 2: l 8-cv-08048-SVW (JC)

           Plaintiff,                                      DECLARATION OF MR. RICHARD
                                                           WILLIAM STANTON MBE GM
    V.

    ELON MUSK,

           Defendant.


           I, Richard William Stanton :MBE GM, declare as follows:

            1.      I am over the age of 18 years, have personal knowledge of the facts contained in

    this declaration, and can competently testify to them.

            2.     I understand that this Declaration may be used by Plaintiff Vernon Unsworth in

    support of his defamation case in the above matter.

           3.      I am a British citizen and resident. I have over 40 years' experience as a cave

    diver, a hobby I took up when I was 18 years old. I have been involved in a number of

    high-profile cave rescues over the years, including in 2004 when I helped to rescue 6 British

    military personnel from a cave in Mexico which was quite a big international and diplomatic

    event at the time.

            4.     In June and July 2018 I participated in the rescue of 12 boys and their soccer

    coach from the Tham Luang cave system, an event now known as the Thai Cave Rescue. My

    initial role was as a 'pathfinder', laying a dive line through the water to find a route forwards. It

    was while we were laying this dive line that John Volanthen and I found the children. John and I

    were then put in charge of planning the dive rescue, and once that rescue plan got the go-ahead

    we were in charge of the dive portion of the extrication itself. John and I, together with two other

    British divers, physically brought the children out. The four of us would each carry a child




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    through the water in a form of improvised harness·and stay with them all the way out of the cave,

    then the next day we would go back and get another. For my role in the Thai Cave Rescue I was

    awarded the George Medal, the United Kingdom's second highest award for acts of civilian

    gallantry, in the New Year's Honours List 2019.

           5.      I became involved in these events at the recommendation of Vernon Unsworth. I

    know that it was Vernon who insisted that the Thai authorities contact me, John Volanthen and

    Rob Harper. I had not met or spoken to Vernon before, but he knew of me due to my prior work

    on cave rescues. Without him being on site calling us in I feel confident in saying there would

    have not have been a successful outcome. Cave diving is incredibly dangerous especially in

    flood conditions and the operation needed divers who were experienced working in conditions

    with zero visibility. Without Vernon's intervention, the boys could all have died in those caves.

           6.      On Tuesday 26 June I was asked to help by Rob Harper, who was in contact with

    Vernon and the Thai Ministry for Tourism and Sport, and we were all flown out to Thailand that

    same day. We fast arrived at the cave site on Wednesday evening at around 8pm and Vernon

    was the only one there to greet us. He had been on site for between 3 to 4 days already and he

    had acquired a room for us to use as a base and as storage for our equipment.

           7.      Vernon was my point of call for cave knowledge throughout the rescue. He knew

    the layout of the cave system as well as how the flooding process worked, and he could predict

    what was going to happen depending on the rainfall. At one point on the evening of Wednesday

    27 June the water started backing up into a chamber of the cave that we called Chamber 3 and

    Vernon correctly predicted that the hundreds of Thai military personnel located in the entrance

    Chamber had 4 hours to evacuate before it became inundated with water, when it had previously

    been dry. He was also able to correctly predict where the boys would be found within the cave




                                                                                           Exhibit 12
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    system.

              8.    Vernon worked tirelessly throughout the entire operation. He was vital to its

    planning and helped with the physical extraction as well. The boys were loaded onto ziplines to

    help traverse certain dry areas of the cave and Vernon helped with this process.

              9.    I have seen comments from Elon Musk that Vernon was shunned by the divers

    and that we refused to spend time with him. That is simply not true. The divers were in constant

    close contact with Vernon throughout the rescue. Rob, John and I all shared the same

    accommodation and each morning Vernon and his partner Woranan Ratrawiphukkun (known as

    'Tik') would bring us breakfast, Vernon would accompany us into the cave up to the dive point

    and assist with our equipment, and Tik would bring us food throughout the day. Ifwe weren't

    underwater then we were almost constantly in Vernon's company ifhe was available and not

    assisting with the search for alternative routes down into the caves from the mountainside. He

    was always welcome with us and I never saw or heard anyone say a bad word about him.

              10.   I have also seen the other accusations that Elon Musk has made about Vernon's

    character, that he is a 'sexpat' or paedophile who took a child bride. I have not seen anything in

    Vernon that would suggest those accusations are true. The caving community is also a very small

    world and I have never heard anyone say anything of this nature about Vernon. If someone had

    the slightest inkling from the past that Vernon was guilty of that type of behaviour, it would have

    been said by now.

           11.      Regarding Elon Musk's involvement in the rescue, a lot of different ideas were

    put forward as to how to get the boys out. We tried not to dismiss any idea unless we were

    confident that it wouldn't work. For instance, at one point there was a concept discussed

    involving a PVC or tarpaulin tunnel approximately I metre in diameter which would be laid flat,




                                                                                             Exhibit 12
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    over-pressurized, which could have led to the seals rupturing and the death of the occupant.

    There was also no way to monitor the status of the occupant whilst they were underwater.

            15.    From the images and videos that were shown to me it seemed completely

    untenable to put someone in it and keep them alive. There was no question of could we or should

    we use it in the rescue, it simply wasn't ready at all and wasn't fit for purpose. I was urging

    Mr Musk to continue making it because I was expecting his prolific team of rocket engineers to

    come up with solutions to those problems because we didn't have the time or resources for

    further development.

            16.    To this day, I have not seen Mr Musk's tube in person. Mr Musk told me it was in

    transit on 9 July and I presume he and the tube arrived in Chiang Rai in the early hours of

    10 July, by which point we had already rescued 8 of the boys. Everyone knew where we were

    based, and nobody came and presented it to us or asked our opinions on it. I am told that

    engineers from the SpaceX team were onsite until after the rescue finished and I would say that

    if they felt the tube could have genuinely added something to the operation, then they would

    have shown it to us.

           I declare under penalty of perjury under the laws of the United States of America that the

    foregoing is true and correct.



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                                                                                              Exhibit 12
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                                EXHIBIT 13




                                EXHIBIT 13



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

   VERNON UNSWORTH,                                   Case No. 2:18-cv-08048-SVW (JC)

        Plaintiff,                                    DECLARATION OF MR. BEN SVASTI-
                                                      THOMSON
   v.

   ELON MUSK,

         Defendant.


         I, Ben Svasti-Thomson, declare as follows:

                1.     I am over the age of 18 years, have personal knowledge of the facts

            contained in this declaration, and can competently testify to them.

                2.     I understand that this Declaration may be used by Plaintiff Vernon

            Unsworth in support of his defamation case in the above matter.

                3.     I am a British citizen and since 1978 I have been resident in Thailand

            where I work as Executive Director of The Foundation of Child Understanding

            (FOCUS), also known as the Anti-Trafficking Coordination Unit Northern Thailand

            or TRAFCORD. We are the longest established non-governmental agency in

            Northern Thailand working to combat child abuse and human trafficking, having been

            established in 2002. In 2009 we were praised by the U.S. State Department as one on

            the most highly commended initiatives combating human trafficking worldwide. I am

            also an Honorary Consul for the British Embassy Chiang Mai. For the avoidance of

            doubt, I am making this Declaration in my personal capacity and not on behalf of the

            British Embassy.

                4.     I first encountered Vernon Unsworth in 2018 during the events now

            known as the Thai Cave Rescue. The British Embassy Bangkok asked me to act as



                                                                                       Exhibit 13
                                                                                       Page 428
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            liaison for the British cave rescue team at Tham Luang Cave; I was onsite from

            25 June to 10 July 2018. During this time I got to know Vernon well and developed a

            tremendous professional respect for him. If I was to name one person who was crucial

            to the mission and successful rescue of the children, it would be Vernon Unsworth.

            Indeed, I can remember talking to Weerasak Kowsurat, Minister of Tourism and

            Sports, in the months after the rescue and based on our conversation I am certain he

            would share this assessment of Vernon's contribution. In the first days of the mission,

            it was Vernon who made it clear to the Thai authorities that the only chance of saving

            the children was to immediately request the services of specialist cave rescue

            personnel from the British Cave Rescue Council (BCRC). Minister Weerasak

            followed Vernon’s advice and in 24 hours British cave divers were operational in the

            cave. Without the expertise of the British cave rescue team, including Vernon, the

            rescue mission would have failed.

               5.      Throughout the mission, Vernon's firsthand knowledge of the cave and

            caving expertise was invaluable to the rescue effort. Every day of the rescue mission,

            Vernon was one of the first to enter the cave and one of the last to leave. Elon Musk's

            assertions that Vernon was asked to leave the cave rescue mission are simply not true.

               6.      I have also seen that Elon Musk has accused Vernon of being a pedophile

            or child rapist with a long history of visiting areas of Thailand known for sexual

            tourism, and that Vernon moved to Chiangrai to marry a child bride who was 12 years

            old at the time. In my capacity as Executive Director of FOCUS/TRAFCORD I can

            state that we work closely with a multidisciplinary team of several agencies including

            the Thai police, and in particular a top Thai police agency named Thai Internet




                                                                                         Exhibit 13
                                                                                         Page 429
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              Crimes Against Children (TICAC). \\ e have been responsible for the arrest of many

              child abusers as well as Western pedophiles. Neither my agency nor any of our

              partner agencies has e\'er received any mformation to substantiate the serious

              accusations made by Elon Musk against Vernon Unsworth. We conclude that they are

              totally unfounded and grossly detrimental to his character.



          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.




                                                        Mr. Ben S\'asti-Thomson




                                                                                       Exhibit 13
                                                                                       Page 430
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                                EXHIBIT 14




                                EXHIBIT 14



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                   Elon Musk $ ·-&e-lonmusk
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                   Never saw !his Bntish expat guy who lives in Thailand 1sus) at any point when
                   we were in the caves. Only people in sight 1Nere the Tl1a1 navy/army guys. who
         -         were great. Tha, navy seats escorted us in - tota l opposrte of wanting us to
                   leave

                   Q
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                                                              \ ./
                                                                               ,,
     &             Elon Musk $
                                                                                    (   Follow    )            v
     •             ~elonmu3k

     Replying to @elonmusk @zevnep

     Water level was actually very low & still (not
     flowing) - you could literally have swun1 to
     Cave 5 with no gear, which is obv how the
     kids got in. If not true then I challenge this                        1


     dude to show final rescue video . Huge credit
     to pump & generator team . Unsung heroes
     here.
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     ~ Elon Musk fJ @elonmusk                                       1Ctm                                      V


     •            Rep~·tng to @el~nmusk @zeynep
                  You knmv wha t don't bother showing the video . We will make one of the min,-
                  sub/pod going all the way to Cave 5 no problemo. Sorry pedo guy. you realty' did
                  ask for it.
u                  Q      ~.d
                          .} .              t.1   10          v           s3                             ELON MUSK


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                                EXHIBIT 15




                                EXHIBIT 15



                                                                      Exhibit 15
                                                                      Page 433
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         Kevin Beaumont          @GossiTheDog · 51 m                                     v
         Oh , sorry, he's calling the guy who found the chi ldren a pedo. Real classy,
         @elonrnusk.



                                Elon Musk
                                @elonrnusk


              Replying to @zeynep

              Never saw this British expat guy who
              lives in Thailand (sus) at any point when
              we were in the caves. Only people in
          0    8        t.-1,   52               v    319      El

         Elon Musk                                                                       V
         @e lonrnusk


Replying to @Goss iTheDog


Bet ya a signed dollar it's true
11 :i 1 AM - 15 Jul 20i 8


44 Retweets 255 Likes




                                                                            Exhibit 15
                                                                            Page 434
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                                EXHIBIT 16




                                EXHIBIT 16



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               From:
               To:             Sam Teller
               Subject:        Re: Draft outline - UPDATED
               Date:           Tuesday, July 17, 2018 8:31:43 AM


               After sleeping on this, l ' m not happy about the suggested approach. lt would have been
               particularly foolish and craven of my to do it last night, right after a share drop, as my apology
               would simply have been dismissed as a disingenuous and cowardly attempt to restore the stock
               pnce.

               We need to stop panicking.

               On Jul 17, 201 8, at 7 :20 AM, Sam Teller <ste11er@spacex.com> wrote:


                      Have solicited feedback on these points (not the exact words) from
                      Gwynne, Shallman, Saltsman, Todd, Sarah , Deepak, Antonio, Anthony
                      Romero, Davis, Elissa and Omead - all very positive and agree that this,
                      combined with a break from Twitter, sets you back on the right path
                      internally and externally. You of course need to put it in your own words.
                      Just need an honest acknowledgment of the recent past combined with a
                      genuine apology and inspiring look to the future . Everyone will love and
                      respect you for more for openly admitting the mistake and showing how
                      much you care about your employees and the company missions.

                      ##


                      I understand that my recent behavior has probably embarrassed you and
                      I'm sorry.

                      I apologize to Vernon Unsworth and am reaching out to him to personally
                      convey this, as well as my deep appreciation for his work in saving the
                      kids.

                      Regarding the Thai rescue, it made me extremely upset to read the
                      attacks on our integrity and motives when I knew how hard 30+ of you
                      across the companies worked as volunteers for four days straight,
                      canceling vacations, sacrificing time with families, wearing the same
                      clothes for days on end, just to try to do something helpful for those boys.

                      To be on the receiving end of personal attacks is of course hurtful and, as
                      you know, things at Tesla in particular have been stressful, but it doesn't
                      excuse lashing out in the way I did .

                      The work you "re doing every day here is so impressive and inspiring, and
                      to have the news focus on trivial Twitter spats instead of your
                      accomplishments is ridiculous. So you'll be happy to know I'm taking a
                      break from the Twitter hellswamp. I understand that the attacks won't stop
                      - that's just life from here on out - but I'll do my best to tune them out.




                                                                                                           Exhibit 16
CONFIDENTIAL                                                                                               Page 436MUSK_001706
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                   My focus has been on the companies and pursuing our missions for the
                   last 15 years and it remains so today.

                   Thank you for everything you're doing to change the world. I'm so proud to
                   work with all of you and promise to become a better and better leader
                   moving forward.

                   Elon




                                                                                                Exhibit 16
CONFIDENTIAL                                                                                    Page 437MUSK 001707
Case 2:18-cv-08048-SVW-JC Document 78 Filed 10/07/19 Page 26 of 126 Page ID #:1651




                                EXHIBIT 17




                                EXHIBIT 17



                                                                      Exhibit 17
                                                                      Page 438
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              Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 37 of 66 Page ID #:37




               ,      Elon Musk       0                          f
                                                                 I\__   Follow
          •           @elonmusk


          Replying to @adamchavez

          As this well-written article suggests, my words
          were spoken in anger after Mr. Unsworth said
          several untruths & suggested I engage in a
          sexual act with the mini-sub, which had been
          built as an act of kindness & according to
          specifications from the dive tea111 leader.
          - 1:38 PM - 17 Jul 20'i8


          1,976 RetweEtS 22,248 LikES


          Q    1.6K     t-1.   2.0K   V   22K   EJ




V
                                                                                            ELON MUSK


                                                                                         l'otr'GIV ~d!UIU'. C:JflNo 11'•19

                                                                                 Exhibit 17111~n,1<v.a.
                                                                                 Page 439
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           Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 39 of 66 Page ID #: 39




       .      , Elon Musk 0
       W           @'elonmusk
                                                              (   Foliow   )   v


       Replying to @elonm usk @adarn chavez


       Nonetheless, his actions against t11e do not
      justify 111y actions against hi111, and to,· that I
      apologize to Mr. Unsworth and to the
      companies I represent as leader. The fault is
       t11ine and mine alone.
      11:41 PM - 17 Jul 2018


      1,054 Retweets 8,753 Likes         ! 6
       0    1.1K     t.."1   1.1K   O   8.8K   B




                                                                                   Exhibit 17
                                                                                   Page 440
Case 2:18-cv-08048-SVW-JC Document 78 Filed 10/07/19 Page 29 of 126 Page ID #:1654




                                EXHIBIT 18




                                EXHIBIT 18



                                                                      Exhibit 18
                                                                      Page 441
    Case 2:18-cv-08048-SVW-JC Document 78 Filed 10/07/19 Page 30 of 126 Page ID #:1655
10/4/2019         Elon Musk on Twitter: "You don't think it's strange he hasn't sued me? He was offered free legal services. And you call yourself @yoda .. .



                         drew olanoff O @yoda · 28 Aug 2018                                                                       V                 X
                         one other thing, elon. your dedication to facts and truth would have been
                         wonderful if applied to that time when you called someone a pedo.

                         Q     26          t-1.   17              730


                         Elon Musk 0
                                                                                                       (      Follow       )      v
                         @elonmusk

             Replying to @yoda @RMac18 @TijenOnaran

             You don't think it's strange he hasn't sued
             me? He was offered free legal services. And
             you call yourself @yoda
             9:41 AM - 28 Aug 2018


             176 Retweets 1,659 Likes


             Q     716        t.l.   176               1.7K




                         drew olanoff O @yoda · 28 Aug 2018                                                                       V

                         Replying to @elonmusk @RMac18 @TijenOnaran
                         i think a lot of things are strange, elon. what i think is especially strange here is
                         that you're wondering why he hasn't sued you while the rest of us are wondering
                         why you did something so eqregious that he could sue you for in the first place.

                         Q     35          t.l.   34              1.6K


                         Elon Musk O @elonmusk · 28 Aug 2018                                                                      V

                         Did you investigate at all? I'm quessing answer is no. Why?

                         Q     126         t.l.   41              959

                         drew olanoff O @yoda · 28 Aug 2018                                                V

                         yes, elon. the world should police your lack of filter and everything that comes
                         after. that's extremely convenient. and hey. sue you, he still might. or'anyone else
                         that you 've whack-a-moled without thinking twice about.

                         Q     29          t.l.   19              1.1K


                         Elon Musk O @elonmusk · 28 Aug 2018                                                                      V

                         Answer the question @yoda. You brought it up, not me. Did you investigate or
                         not? If so, what did you actually do?

                         Q     160         t.l.   44              1.1K


                  ~     - ~ ....,., nbnnff t'J tnh,r,rb . ?A ll11n ?n1A
https://twilter.com/elonmusk/status/1034481160783585280?Iang=en                                                                                           1/2
                                                                                                                                      Exhibit 18
                                                                                                                                      Page 442
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                                EXHIBIT 19




                                EXHIBIT 19



                                                                      Exhibit 19
                                                                      Page 443
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        From:
        To:               ~
        Subject:          Re: BuuFeed News: Unsworth legal letter
        Date:             Tuesday, September 04, 2018 5:31 :45 PM


       Get lost, you creep

       On Sep 4, 2018, at 5:30 PM, Ryan Mac <cyan mac@buzzfeed com> wrote:


               Hey Elon,

               I'm sure you've seen the story at this point. Still happy to talk with you on
               whatever terms you want as long as we set them beforehand. Let me know if you
               want to do a phone call.

               Best,
               R




               On Tue, Sep 4, 2018 at 1: 18 PM, Elon Musk                           wrote:
                Off the record

                   I suggest you ask Unsworth to describe his whole - 30 year history of visiting
                   Thailand. What was he doing in Pattaya Beach for the better part of a decade
                   when there are no caves of note in the area?

                   On Sep 4, 2018, at 12:22 PM, Ryan Mac <cyan mac@buzzfeed com> wrote:


                         Hi Elon,

                         While I'd rather chat on the record, I'm happy to go off record with
                         you moving forward so you can answer specific questions
                         regarding the allegations you've made.

                         Thanks,
                         Ryan




                         On Tue, Sep 4, 2018 at I 0:53 AM, Elon Musk
                         wrote:
                          Off the record

                           We haven't had a conversation at all. I sent you an off the record
                           email, which very clearly and unambiguously said "off the




                                                                                                    Exhibit 19
                                                                                                    Page 444MUSK 000967
Case 2:18-cv-08048-SVW-JC Document 78 Filed 10/07/19 Page 33 of 126 Page ID #:1658




                   record". If you want to publish off the record comments and
                   destroy your journalistic credibility, that's up to you.

                   As for answering more questions, I would be happy to do so, but
                   not with someone who just told me that they w ill not honor
                   accepted rules of journalism.

                   On Sep 4, 20 18, at 8:49 AM, Ryan Mac
                   <cyan mac@buzzfeed com> wrote:

                         Hi E lon,

                         I didn't agree for the conversation to be off the
                         record, but appreciate the response. To fo llow up,
                         I've tried to report out some of these accusations on
                         my own but have not found anything to corroborate
                         the claims. Are you able to share anything that
                         you've found about Vernon Unsworth? Do you have
                         any evidence or documentation showing he took a
                         12-year-old child bride, that he is a child rapist, or
                         that be was kicked off the rescue site, as you stated
                         in your other email? Also are you able to share your
                         correspondence with Rick Stanton showing your
                         discussion of the submarine specs?

                         With regards to your statement about the legal threat
                         not coming up until you raised the issue on Twitter,
                         the legal letter was dated on Aug. 6 and sent to your
                         Los Angeles home and to one of your SpaceX
                         emails. Did you not see the letter prior to your
                         tweets?

                         Thank you,
                         Ryan


                         0 Th        A30 2018 at 6:43 PM, Elon Musk
                                            wrote:
                           0     e eco d

                           I suggest that you call people you know in
                           Thailand, find out what's actually going on and
                           stop defending child rapists, you fucking asshole.
                           He's an old, single white guy from England who's
                           been traveling to or living in Thailand for 30 to 40
                           years, mostly Pattaya Beach, until moving to
                           Chiang Rai for a child bride who was about 12
                           years old at the time. There's only one reason
                           people go to Pattaya Beach. It isn' t where you'd go




                                                                                     Exhibit 19
                                                                                     Page 445MUSK 000968
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                         for caves, but it is where you'd go for something
                         else. Chiang Rai is renowned for child sex-
                         trafficking.

                         He may claim to know how to cave dive, but he
                         wasn' t on the cave dive rescue team and most of
                         the actual dive team refused to hang out w ith him.
                         I wonder why ...

                         https://www.google.com/search?
                         q=chiang+rai+child+trafficking&ie=UTF-
                         8&oe=lJTF-8&hl=en-us&cJ ient=safari
                         As for this alleged threat of a lawsuit, which
                         magically appeared when I raised the issue
                         (nothing was sent or raised beforehand), I fucking
                         hope he sues me.

                         On Aug 30, 20 18, at 6:07 PM, Ryan Mac
                         <cyan mac@buzzfeed com> wrote:

                               Hey Elon, just wanted to make sure I
                               did my due diligence to research basic
                               facts and fo llow up here.

                               Thanks,




                               Ryan Mac I Buzzfeed News I Senior
                               Technology Reporter Cell: (949) 315-9364
                               I Office: (415)477-1 620 I
                               @rmac18 I 121 2nd Street. 3rd Floor.
                               San Francisco CA 94105 I
                               https-1/www buzzfeed com/cyanmac




                               On Wed, Aug 29, 2018 at 9:06 AM,
                               Ryan Mac
                               <ryan.mac@buzzfeed.com> wrote:
                                 Hey Elon, thanks for getting
                                 back. Actually he prefers to be
                                 called a "spelunker" and we've
                                 confirmed that he actually does do
                                 cave diving. But do you have any
                                 comment on the letter your
                                 received?




                                                                               Exhibit 19
                                                                               Page 446MUSK 000969
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                              Ryan Mac I BuzzFeed News I Senior
                              Technology Reporter Cell: (949) 315-
                              9364 I Office: (415)477-1620 I
                              @rmac18 I I21 2nd Street 3rd floor
                              San Francisco CA 941 os I
                              https·//www buzzfeed com/eyanmac




                              OnWed,A~M,
                              ElonMusk . . . . . . . .
                              wrote:
                                Have you actually done any
                                research at all? For example, you
                                incorrectly state that he is a diver,
                                which shows that you know
                               essentially nothing and have not
                                even bothered to research basic
                                facts.

                                On Aug 29, 2018, at 7:40 AM,
                                Ryan Mac
                                <cyan mac@buzzfeed com>
                                wrote:


                                         Hi Elon,

                                      Ryan from BuzzFeed
                                      News here. We're
                                      reporting a story out
                                      about you receiving a
                                      letter from a lawyer
                                      representing British
                                      diver Vernon
                                      Unsworth. The letter,
                                      dated August 6, was
                                      sent to your Los
                                      Angeles home and
                                      discusses potential
                                      legal proceedings
                                      against you for libel.

                                         Given the Twitter
                                         conversation
                                         yesterday, I was
                                         hoping you could talk




                                                                        Exhibit 19
                                                                        Page 447MUSK 000970
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                                    about the letter and
                                    whether you had seen
                                     it yet. I'm happy to
                                    chat on the phone if
                                    -                llmeat


                                    Best,


                                    I•
                                    Ryan Mac I BuzzFeed
                                    News I Senior
                                    Technology Reporter
                                    Cell: (949) 315-9364 I
                                    Office: (415) 477- 1620 I
                                    @rmac18 I 121 2nd
                                    Street 3rd f loor San
                                    Francisco CA 94105 I
                                    https ·Uwww buzzfeed com/eyanm
                                    ill.




                                                                      Exhibit 19
                                                                      Page 448MUSK 000971
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                                EXHIBIT 20




                                EXHIBIT 20



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     1                               RESPONSES TO INTERROGATORIES

     2   INTERROGATORY NO. 1:

     3           Describe all harm You have suffered, if any, as a result of the "False and Defamatory

     4   Accusations" You identify in Your Complaint, including but not limited to any harm to Your

     5   property, business, trade, profession, or occupation, any expenses You have had to pay as a result

     6   of the statements, any harm to Your reputation, or any shame, emotional distress, mortification, or

     7   hurt feelings You have experienced.

     8   RESPONSE TO INTERROGATORY NO. 1:

     9           Plaintiff objects to this interrogatory to the extent that it prematurely seeks the disclosure of

    10   expeti testimony.

    11           Subject to, and without waiving, the foregoing objection, Plaintiff responds as follows:

    12          Damages to Plaintiff's reputation are presumed by law and Plaintiff's Complaint in this

    13   matter speaks for itself. Moreover, Plaintiff has suffered actual reputational, emotional, and mental

    14   harm, and has suffered from stress, emotional distress, anxiety, and feelings of social isolation.

    15   Plaintiff is not seeking damages for lost wages or earning opportunities or any other special

    16   financial damages.

    17          Defendant's accusations have hit Plaintiff very hard emotionally. Plaintiff is concerned in

    18   regular everyday interactions and in general that the stigma of being called a "pedo" and "child

    19   rapist," among other things, by one of the world's most famous billionaires will follow him for the

    20   rest of his life. Even when there is a positive news story, such as a story regarding the award of the

    21   MBE to Plaintiff, it seems to Plaintiff that Defendant's false accusations are effectively the headline

    22   and an integral part of the story.   His interactions with people have been negatively impacted by

    23   Defendant's false accusations. Plaintiff is forced to consciously consider whether any individual

    24   believes he is a pedophile, a child rapist, and/or that he married a 12-year-old child bride, which

    25   causes Plaintiff anxiety, stress, emotional distress, and feelings of social isolation.        Plaintiff

    26   presumes that had Defendant been called a pedophile and child rapist on multiple occasions

    27   publicly to millions of people by a billionaire that Defendant too would be mortified, shamed,

    28   angry, stressed, and anxious, because accusations of pedophilia are so heinous. Plaintiff is

                                                             3

                                                                                                 Exhibit 20
                                                                                                 Page 450
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     1   particularly distressed because this is not any run of the mill accusation of criminal conduct, but

     2   instead refers to one of the most detested forms of misconduct in the world.

     3          Plaintiff was not known to the general public prior to the cave rescue and was, instead, a

     4   private person. To the extent he was known to the general public prior to Defendant's false

     5   accusations, it would have been in his capacity of trying to help save those trapped in the cave.

     6   After Defendant's false accusations, however, Plaintiff feels his reputation is as a pedophile or child

     7   rapist or, at the least, the guy Defendant called a pedophile and child rapist. Even the cloud of

     8   suspicion is very emotionally distressing.      Plaintiff feels that Defendant created for him an

     9   incredibly wide reaching public persona as a pedophile and child rapist.

    10          As a practical demonstration of the harm to Plaintiff's reputation and the emotional distress

    11   and anxiety that he has suffered, Plaintiff was investigated by the Thai authorities, including the

    12   Maesai District Police, Maesai Immigration Police, and Huai Khrai Police, as a result of

    13   Defendant's false accusations, and they interviewed the family of Plaintiff's significant others and

    14   other important people in the local village where Plaintiff stays in Thailand. This investigation

    15   communicated to members of Plaintiff's community that Defendant's accusations were legitimate

    16   enough to trigger an official response.

    17          Plaintiff has also suffered stress, emotional distress, and anxiety because of the pain

    18   Defendant's accusations have caused to Plaintiff's family, including Tik (Plaintiff's partner of 8

    19   years), his wife Vanessa (although separated), his daughter Danielle, his mom Vera, his sister

    20   Shirley, and niece Sian, all of whom have experienced emotional distress and anxiety due to

    21   Defendant accusing Plaintiff of engaging in abhorrent, criminal sexual behavior with children.

    22   INTERROGATORY NO. 2:

    23          Describe any psychiatric injury or disorder You have suffered as a result of the "False and

    24   Defamatory Accusations" You identify in Your Complaint, including but not limited to (a) the

    25   characteristics and symptoms of the injury/disorder, (b) when such injury/disorder began and

    26   ended, (c) the name of any doctors or other medical professionals that have examined You for the

    27   injury/disorder, (d) the dates of such examination, (e) diagnoses, and (f) prescriptions or other

    28   treatment you have received as a result.

                                                            4

                                                                                               Exhibit 20
                                                                                               Page 451
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     1             Plaintiff was subject to a bankruptcy proceeding in October 1999 initiated by a UK company

     2   called Standard Life in regards to a commercial loan following the split of Burgess Wreford &

     3   Unsworth, and discharged in 2002. Plaintiff recalls the sum in dispute being 36,000 Pounds

     4   Sterling. Plaintiff understands that the remaining assets/renewal commissions of Burgess Wreford

     5   & Unsworth were used in the bankruptcy to pay debts of the partnership. No other proceedings to

     6   Plaintiffs knowledge.

     7   INTERROGATORY NO. 13:

     8             Describe all Travel You have taken to outside of the United Kingdom, including but not

     9   limited to the dates of travel, cities visited, the names and addresses of accommodations where You

    10   stayed, the identities of any Persons who accompanied You, and the purpose of the Travel.

    11   RESPONSE TO INTERROGATORY NO. 13:

    12             Plaintiff objects to this interrogatory on the basis that it is overly broad, unduly burdensome,

    13   not reasonably calculated to lead to the discovery of admissible evidence, and submitted for the

    14   purposes of harassment. It is not limited in any manner by time or subject matter, and it is irrelevant

    15   to this case if Plaintiff traveled, for instance, anywhere in the world for a private law-abiding

    16   purpose when he was a child. Although Plaintiff believes it is overly broad, Plaintiff will respond

    17   dating back to the year 2000.

    18             Subject to, and without waiving, the foregoing objection, Plaintiff responds as follows:

    19             From 2000 to the end of 2007, all travel were family holidays with Plaintiffs wife and

    20   daughter. Plaintiff does not recall specific dates, but typically travelled during Easter and half term

    21   breaks.     International travel included to continental Europe, primarily Portugal (the family's

    22   favorite destination) and Spain. The family also visited Plaintiffs brother in Donegal, Ireland on

    23   two occasions. Plaintiff has also been on golfing trips with members of the Verulam Golf Club and

    24   the Rusty Nail Golf Society, including Portugal, Spain, Ireland, and France.

    25             Plaintiff did not travel abroad from 2008 to 2010, due to the UK recession.

    26             Plaintiff first visited Thailand in July 2011, and has visited many times since, which is

    27   recorded in his passport. Plaintiff often stays in Thailand for several months at a time, including to

    28   be with his significant other and explore caves. On two occasions, Plaintiff has flown to Vientiane,

                                                               11

                                                                                                   Exhibit 20
                                                                                                   Page 452
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     1   Laos due to rules requiring after 90 days that you travel out of country to extend your in-country

     2   stay by another 60 days (April 2017 and April 2018). Plaintiffs significant other accompanied him

     3   on the first of the two occasions traveling to Laos.

     4   INTERROGATORY NO. 14:

     5             Identify all social media or blogging site, platform, or application, including but not limited

     6   to Twitter, Facebook, Instagram, Snapchat, YouTube, Pinterest, Myspace, Linkedln, or

     7   classmates.com, on which you created, maintained, wrote, received, or read any profile, posting,

     8   message, status update, wall comment, "Like," or other document or communication; (b) the date

     9   you initially accessed, opened, or created the social media or blogging site, platform, or application;

    10   (c) all of Your associated screen names, aliases, or accounts; and (d) whether each account is still

    11   active.

    12   RESPONSE TO INTERROGATORY NO. 14:

    13             Plaintiff objects to this interrogatory on the basis that it is overly broad and not reasonably

    14   calculated to lead to the discovery of admissible evidence.

    15             Subject to, and without waiving, the foregoing objections, Plaintiff responds as follows:

    16             Plaintiff does not personally use Twitter or Facebook. Plaintiff does have a Facebook page

    17   created and controlled by his significant other, Tik. Plaintiff does not know the password for

    18   accessing the Facebook account. If anything arrives via Facebook, Tik will show Plaintiff and

    19   Plaintiff will advise of any response or no reply at all. Plaintiff does have an Instragram account

    20   with at present 34 posts, 19 followers, and 11 followed. Plaintiffs Instagram account is under

    21   "vernonhunsworth". Plaintiff has not created or otherwise used any social media profile.

    22

    23   Dated: July 17, 2019                             L. LIN WOOD, P.C.

    24
                                                          By: /s/L. Lin Wood
    25                                                    L. Lin Wood

    26                                                    Attorneys for Plaintiff
                                                          VERNON UNSWORTH
    27

    28

                                                              12

                                                                                                  Exhibit 20
                                                                                                  Page 453
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                                                                                                                     -

                                 UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CAUFORMA

     VERNON UNSWORTH.                                    Case No. 2: l 8-cv-08048-SVW (JC)

            Plaimiff,                                    PLAINTIFF VERNON UNSWORTH'S
                                                         VREIFICATION OF RESPONSES
     V.                                                  ELON MUSK'S FIRST SET OF
                                                         INTERROGATORIES
     ELON MUSK,

            Defendant.


            I declare under penalty of perjury under the laws of the United States           that the

     foregoing responses to Elon Musk's First Set oflnterrogatories to Vernon Unsworth are true and

     correct to the best of my knowledge.

            Executed on July}!!_, 2019.
                                                             ~,.
                                                                             ---_______
                                                                                ----------
                                                                              _'-              ..
                                                                                                           .



                                                         Vernon Unsv11orth




                                                                                                        Exhibit 20
                                                                                                        Page 454
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                                EXHIBIT 21




                                EXHIBIT 21



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                                                                      Page 455
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From:        Jared Birchall
Sent:        Tue 7/09/2019 7:06 PM (GMT-07:00)
To:
Cc:
Bee:
Subject:     Fwd: Rowena Update
Attachments: image00200001.jpg; PHOT0-2018-08-23-18-XX-XXXXXXX.jpg; PHOT0-2018-08-23-18-XX-XXXXXXX.jpg




---------- Forwarded message --------
From: Jupiter Private < in fo@ jupite r-private.com>
Date: Fri, Aug 24, 20 18 at I I :46 PM
Subject: Rowe na Update
To: James Brickhouse < jbric khouse I l @ gmail.com>


Jim, a ll understood. Is there a spec ific date & time we are working toward s? Is there a possibility of extending that window?

W ith a small window to gather evidence and not hearsay I may have to change the approach and look to run a media interview if she is available
without the target. We the n nig ht be able to extract the exact time lines.

Interestingly The Age of Conse nt in Thai land is I S years o ld. Thailand s tatutory rape law is v io lated w hen an individual has consensual sexual
intercourse with a person under age 15. However, sex w ith a minor under age 18 is a compoundable offence, regard less o f consent.

W e will a ll put in an extra shift o n this for over the weekend regardless of the s uccess fee. Jim m y attitude is to build a long term relationship in
s uppon of you & your team.


James

CEO - Qatar & U AE
Jupiter Military & Tactical Systems
A l Saad - Area 38
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P.O. Box 22509 Doha
State of Qata r
+ 44 (0) 79 17 401601
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WIJ 5FJ

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the intended recipient you are notified that d isclosing, copying, distribut ing or taking a ny action in reliance on the contents of this in formation is
strictly prohibited.


On 25 Aug 20 18,   al   O I :45, James Brickhouse < jbrickhouse I l @ gmail.com> wrote:

 Sounds good . A lso, for s uccessfu l confirmation of nefarious behavior there is an additional$ !Ok bon us. Timing is important as you
 know. Preferably in the next 36-48 ho urs.

 On Fri, Aug 24, 20 18 at I :53 PM Jupiter Private < in fo@ jup iter- private.com> wrote:
  Jim, I w ill e nquire and confirm. We are working a number of different enquiries & I will have more information over the weeke nd.

  I' m contactable at any time.
  Rgds,
  Jarnes



  CEO - Qatar & UAE
  Jupiter Military & Tactical Systems
  893, Doha Expy, Doha, Qata r




                                                                                                                                               Exhibit 21
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On 24 Aug 20 18 , a t 19:26, James Brickho use < jbrickhouse I l @ g ma il.com> wrote:

 T hanks for this. Do we have more info about the timeline w hen he origina lly went to Thai land? Was his current wife the girl he fina lly settled
 o n after a pe rio d o f 'explo ring' the world ofunderaged Tha i g irls? Can we get a firm con firmation that they met w hile she was a minor?

 On Fri, Aug 24, 20 18 at 9:06 AM Jupiter Military & T actica l Syste ms < in fo @ jupite r-p rivate.com> w rote:
  J im.
  The name if his wife in Thai is   · '6.11.'1"11414   i"""~llfll'l".

  The English translation is a vibration of:
  Woranun Radravipakkun
  Voranun Radravipakkun
  Voranan Radravipakkun
  Vora nan Rudravipa kkun
  The Target and Woranun have been married for ?years, 28yrs gap between them both.
  S he is the Deputy Chief Executive of the SAO - Subdistrict Administration Organisation in Huai Khrai,Chiangrai Province
  1.:.1:..-
  L=·J

  r~




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  Kind regards,
  James


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 <36606408_ 10294 16743883292_ 563058014 7984 793600_o.jpeg>
 <07 AC5353-8E67-47FE-9 19 1-5 I 08B73CC950.jpeg>
 <A8920023-7CAA-4E54-B53F-D F6C95 79964 1.jpeg>
 < PastedGraphic-1.tiIB>
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                                EXHIBIT 22




                                EXHIBIT 22



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       From:        James Brickhouse
       Sent:        Thu 9/06/2018 12:45 AM (GMT-07:00)
       To:
       Cc:
       Bee:
       Subject:     Fwd: Project Rowena Upate
       Attachments: image00200001.jpg




       ---------- Forwarded message ---------
       From: Jupite r Military & Tactical Syste m s <info@ jupiter-private.com>
       Date: Mon, Aug 27, 2018 at 9:47 AM
       Subject: Project Rowena Upate
       To: Jim Brickhouse < jbrickhousel l @gmail.com>


       Jim,
       Further information will be forthcoming as the team continues with the tasking:

       GREEN what we know as fact.
                what we are in the process of verifying
       RED - hearsay or unproven and not based on any facts

           •   When did he move to Tha iland? 20 11 ? The target moved permanently to Thailand in the 2010.
               Prior to this the target had been spend periods of upto six months at a time living and travelling
               in different parts of the country.
           •   How long prior to that had he been visiting? Does he have a history of visits? The target has
               been traveling on and off to Thailand for cave exploration since the late I 980's.
           •   Why that town/village? This village (Huai Khrai) is where the targets wife (extended family) is
               from and where she grew up . She is now the VP Executive of the SAO - Subdistrict
               Administration Organisation in Huai Khrai,Chiangrai Province
           •   When did he divorce his wife in the UK? This information is not yet available to me.
           •   J)id his resignation from Quaternion House T.TD coincide with his move to Thailand? Or had he
               moved prior to that? Mr Unsworth moved permanently to reside in Thailand in 2009.
               His Quarternion career as a mortgage broker was on a part time basis. He had moved to
               Thailand before his resignation and would have resigned at the end of the Tax year in March
               2011 to benefit from the tax benefits.
           •   Is he independently wealthy? Does he make money from his coffee shop? The target is
               not independently wealthy. He has not pension savings scheme and only has one property in the
               UK which is mortgage free. This property is rented out for approximately £800-£850 PCM. The
               asset (The Old House 5 Normandy Road, St Albans, Hertfordshire, AL3 SQG) is valued
               at £850,000 GBP but has a low rental income. The target does not have large amounts of
               disposable income.
           •   Do you have more details regarding his coffee shop/hobby? The target does not own a coffee shop
               but does have a keen interest in local Thai Coffee producer and often makes visit to
               these plantations to purchase coffee beans to roast himself. We regard this as a hobby.
           •   Have yo u spoken to his main competitor to see what information they may have? ??? No - we don't
               regard the target as having a main competitor




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           •    What are bis living conditions in Thailand? His living conditions are basic compared to the
                developed world but would be considered an above standard in this part of Northern Thailand.
                He has running clean water, sanitation, wifi and satellite TV.
           •    When did he marry his wife in Tha iland? 20 11 ?                   ccss 0 1 , crif\ in• thi'i

           •    When did he meet his wife in Thailand? Target met his wife in 2008 in her role as Vice Presient of
                the local commune. She is a colloquial English speaker. She was introduced to the target by
                a mutual English friend. After the initial introduction the target approached his now wife to
                enquire to her for permission to map & explore local cave networks.
           •    How did he meet her? See above
           •    What was her age when they met?      ct rget is 63 ~cars old. His wife \\C bcllc\C is 30 ,,hich \\Ould
                                                     t met. The target \\ouJd ba,e been 52} rs old at the time.
                This Is 1'01 ,en11cd ~et but nill be ASAP. His bchn,1our ls t best described as "Manthcr' -

           •    Was she the 10th teenage girl he met before he decided to settle?          • nrc collecting c, Ide nee from
                              • 1       n            r      I th                            abllsh targets 'hunting
                patterns'




       Kind regards,
       James

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        On 27 Aug 2018, at 00:38, James Brickhouse <jbrickhousel l @gmail.com> wrote:

        Hi James - Clearly we'd like the information now. There is some urgency to this situation. We
        believe there are planned attacks in the media and/or a Lawsuit that are imminent. With that
        said, we aren't looking to frame anyone. If there is definitively no smoking gun, then Jet's get
        the information necessary to make that determination and it is what it is. But if there is
        something more, we need information asap. Some of the specific questions that would be good
        to answer are:

             •   When did he move to Thailand? 2011?
             •   How long prior to that had he been visiting? Does he have a history of visits?
             •   Why that town/village?
             •   When did he divorce his wife in the UK?
             •   Did his resignation from Quaternion House LTD coincide w ith his move to Thailand? Or
                  had he moved prior to that?
             •   Is he independently wealthy? Does he make money from his coffee shop?
             •   Do you have more details regarding his coffee shop/hobby?
             •   Have you spoken to his main competitor to see what information they may have?
             •   What are his living conditions in Thailand?
             •   When did he marry his wife in Thailand? 2011?
             •   When did he meet his wife in Thailand?
             •   How did he meet her?
             •   What was her age when they met?
             •   Was she the 10th teenage girl he met before he decided to settle?

        If you are able to carefully do a 'press' interview with him or her - or both, then I say Jet's use
        any and all creative methods possible. But maybe better separate so he doesn't influence her
        willingness to be forthcoming. I'm told there may have been some journalists who have
        attempted to pull his criminal records in Thailand. I'm guessing that any such effort has only
        served to alert his wife and possibly motivate him to alter his behaviors for a time while the
        spotlight is on him.

        If employing additional asset is possible, in the interest of time, we will support this - even if it
        mean an add itional expense. Are there other assets or an additional group we should consider
        including in this effort? We need a definitive determination one way or another as soon as
        humanly possible.

        On Sun, Aug 26, 2018 at 11 :07 AM Jupiter Private < info@jupiter-private.com> wrote:
         Jim, what are the timings for the project?




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        How much time do we have ?
        On the phone is you need to call.
        regards,
        James

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                                EXHIBIT 23




                                EXHIBIT 23



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       From:          Jupiter Military & Tactical Systems
       Sent:          Thu 8/3012018 11 :04 AM (GMT-07:00)
       To:            "Jim Brickhouse" <jbrickhouse11@gmail.com>
       Cc:
       Bee:
       Subject:       Rowena Report
       Attachments:   Project Rowena00001 .pdf; image00200002.jpg


       Jim,
               Attached a preliminary report of where we are and follow up actions.

       I will write a seperate report on the media push.

       I would like to send this from an encrypted address.




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                                    CLOSE HOLD




                                Project ROWENA
                               AUGUST 30th 2018




                                    CLOSE HOLD


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                                                      CLOSE HO LD

       Subjects Full Name                                Vernon Harry UNSWORTH

       Date of Birth                                                  1955

       Address in Thailand
                                                                    - VERIFIED




       Address in United Kingdom




       UK Passport No.                Issued London      VERIFIED

       28/09/2010

       Criminal Record Search                            No civil or criminal charges have been recorded within the
                                                         United Kingdom or Thailand
       Sex Offender Register                             No Sex Offenders registrations recorded within the EU
                                                         EU Offender Search includes current and historical sex offender

                                                         registration records from all EU member states this also

                                                         includes List 99 and the Interpol register.
                                                         Please note that the type of crimes that require registration
                                                         vary by EU member state therefore not all individuals convicted
                                                         of a sex crime in one EU member state may be included in
                                                         another EU member state's registry.
       Credit Check - Limited information was recorded   No adverse records or outstanding judgements recorded at
                                                         the UK address provided above. No indication of financial
       at the address listed above.
                                                         stress.


       Current location                                  Arrived back in the UK from Thailand on 29th August and is
                                                         currently living with his Mother Vera Unsworth in Braintree,
                                                         Essex. Approx. 55 m iles from London.


       Income                                            Mr Unsworth is renting his house out in St. Albans for £875.00
                                                         GBP per calendar month. He lives rent free in Thailand as the
                                                         home he shares w ith his w ife is owned by his mother in-law.




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                                       Mr Unsworth also works part-time in his mother in laws shop.




       Background                      Mr Unsworth was educated Verulam School which is a state
                                       secondary school for boys with an academy status in St
                                       Albans, Hertfordshire. He spent his career in unregulated
                                       financial sales, most recently as a self-employed mortgage
                                       broker which he gave up in 2009 when the UK mortgage
                                       market became fully regulated.

                                       He was a competitive motor cycle bike racer competing in two
                                       Ilse of Man TT's races in 1983 & 84'.

                                       He has been a frequent visitor to Thailand since the 1980's.
                                       Prior to meeting his current wife we believe that Mr Unsworth
                                       was living in the Pattaya Beach which is a well-known tourist
                                       destination. Pattaya Beach is synonymous with prostitution
                                       and scam artists. We are in the process of verifying this
                                       information which was mentioned to the lead investigator by
                                       Mr Unsworth mother-in-law.

                                       Mr Unsworth has been described to our investigation team by
                                       other UK volunteers attached to the Cave Rescue team as a
                                       'Manther' slang for an older man with a taste for younger
                                       women.

                                       It's a reasonable assumption in life that if you come across a
                                       mature man in a relationship with an obviously much younger
                                       women that this in itself is out of the ordinary behaviour.

       Thailand                        Mr Unsworth spends on average ten months a year in
                                       Thailand mai ntaining a relatively low profile in his community.
                                       He was described to our investigators as friendly but quiet. He
                                       spends most of his day to day time working as an assistant in
                                       his mother-in-law's road side shop.

                                       Mr Unsworth drives a Japanese 4X4 vehicle with a value of
                                       $1000 USD.

                                       Mr Unsworth moved permanently to Thailand in the 2010.
                                       Prior to this he had been spending periods of up to six months
                                       at a time living and travelling in different parts of Thailand &
                                       travelling in South East Asia.

                                       His living conditions are basic compared to the developed
                                       world but would be considered an above standard in this part
                                       of Northern Thailand. He has running clean water, sanitation,
                                       Wi-Fi and satellite TV.



                                    CLOSE HOLD



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                                       Mr Unsworth met his w ife in 2008 in her role as a secretary to
                                       the Chief Executive of the local commune. She is a colloquial
                                       English speaker. Mr Unsworth wife was introduced to him by
                                       a mutual English friend .

                                       After the initial introduction the Mr Unsworth then
                                       approached his now wife to enquire w ith her in seeking
                                       permission to map & explore local cave networks.

                                       Mr Unsworth is 63 years old. His wife we believe is 30, (we
                                       will confirm this in the next 48hrs) which would have put her
                                       at 18/19 when they first met. The target would have been 52
                                       yrs old at the time.

                                       If this is the case that Mr Unsworth choose to live in Pattaya
                                       Beach before moving to Northern Thailand, then it would be a
                                       strong indicator as to his lifestyle interests. If we can establish
                                       that Mr Unsworth was a regular visitor to this part of Thai land
                                       which is not known for its extensive cave networks then this is
                                       something that may support the assumption that he is a
                                       "Sexpat"

                                       The sexpat whore-mongers his way through the go-go bars of
                                       Thailand. His only other friends are his sexpat peers. Peek-
                                       density occurs in and around Pattaya -Thailand's sin city.

                                       Interestingly our investigators in Thailand who have shared a
                                       beer with some of the UK & Dutch divers who also
                                       volunteered stated that Mr Unsworth was not a popular man
                                       or particularly liked man in the Cave Rescue Team. When
                                       pushed as to why, they simply replied " Creepy"



       Next Steps                      THAILAND
                                       The Thai investigation team will follow existing lines of
                                       enquiry specifically looking at the following questions:

                                       Can we confirm that Mr Unsworth was a frequent visitor to
                                       Pattaya -This can be established by checking old visa
                                       applications that he would have made on entering Thailand.
                                       Mr Unsworth would have had to have a registered address,
                                       hotel or apartment. If he stayed with a friend, then who? Is
                                       that friend a known Sexpat? We are running these lines of
                                       enquires.

                                       We are running an interview with his wife tomorrow and will
                                       be able to ask more searching questions about the
                                       relationship and specifically looki ng at her age when they met
                                       and how he courted her.

                                       Vernon Unsworth is an unpopular loner which makes the
                                       investigation more difficult as we are always looking for
                                       friends to lead us i nto certain conversation topics.

                                       UK
                                       Mr Unsworth is a member of Verulam Golf Club
                                       www.verulamgolf.co.uk and he will be playing Golf there in
                                       the coming weeks. The investigation team will be looking to
                                       integrate itself w ith him either as part of a playing four ball or


                                    CLOSE HOLD



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                                    CLOSE HOLD

                                       in the clubhouse bar. This will be to establish how far along
                                       the legal route he has gone and what the strategy is. The Golf
                                       Club are planning to host an evening d inner in his honour.

                                       * Unless instructed, we are not running mobile and foot
                                       surveillance on Mr Unsworth during his visit in the UK.




        Subjects Full Name              Voranun Radravipakkun (Nickname - Tik) wife on Vernon

                                        Unsworth.

        Date of Birth                   To Be Verified

        Address in Thailand
                                                  - VERIFIED




        Current location                Currently in Chiang Rai returning to Huai Krai (home village)
                                        31" September.



        Income                          Tik is employed as a Secretary for the Chief Executive of the

                                        SAO at Huai Krai SOA, Maesai, Chiang Rai (Subdistrict

                                        Administration Organization) working address is 95 m .4

                                        Baan Hong Hae, Huai Krai, Maesai, Chiang rai, 572200.

                                        Phone number;

                                        Her personal phone number cell is




        Background                      Tik was born and raised in Chaing Rai and lives with Mr
                                        Unsworth in a house belonging to her mother.




                                    CLOSE HOLD



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        Thailand                        Tik is spoken about as someone who is popular in her village
                                        and well known as she is the only good English speaker in
                                        the commune of 12 villages.


        Next Steps                      THAILAND
                                        The focus of the investigation with Tik is in establishing what
                                        age she was when she met with Mr Unsworth. This
                                        information should be confirmed by the Thai investigation
                                        team within the next 48hrs.




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                                EXHIBIT 24




                                EXHIBIT 24



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       From: James Brickhouse
       Sent:    Tue 9/18/2018 4:39 PM (GMT-07:00)
       To:      "Jupiter Private" <info@jupiter-private.com>
       Cc:
       Bee:
       Subject: Re: Project Rowena Update


       You mentioned several days ago that you would be sitting down with your embassy contact to
       get documented proof ofUnsworth's travel over those 6 years that you indicated he spent time in
       Pattaya. Did that happen? That is an important piece of verification.

       On Tue, Sep 18, 2018 at 4: 16 AM Jupiter Private < info@ jupiter-private.com> wrote:
        Jim, this is the info as it came to me from the fema le lead from our team who befriended the
       s ister and mother. Obviously we now know the DOB was incorrect. They related to the
        investigator that he first visited Thailand 29 yrs ago which would have been 1989. I have asked
        Steve to look at the Uk embassy records to verify.


        I.When did he first move to Thailand?
        = He first moved to Thailand about 7 years ago. (He first visited Thailand 29 years ago for his
        cave exp loration project in the Southern of Thailand)

        2.Do we know if he was visiting in the years before he moved to Thailand?
        = Before he met Kun Tik. He sometimes traveled to Thailand for cave exploration and came
        with his cave explorers.

        3. Why did he chose Chiang Rai, or was he based somewhere else previously - Pattaya etc?
        = The reasons that he has chosen to live in Chiang Rai, because he loves studying about caves.
        Chianf Rai has plenty of interesting caves, especially Tam Luang. He believes that he still can
        exp lore more about this cave. Secondly, Kun Tik., it is her hometown and also she has land and
        house here. Tik has to take care of her fami ly i.e. her Father, Mother and daughter (with her ex-
        busband) and she has a job here. So that it'd be a good reason for Vernon to Live for his
        retirement here.

        4.We understand he may have a coffee shop in Chiang Rai - is this his source of income?
        = He opened a small coffee shop in 2016, named "Cha-Pa-Yorn" which it is located in Mae Fha
        Luang district. It was a small coffee stand. It was not his source income.

        5.If he has the coffee shop, is it successful and what do his competitors think?
        = In the past he used to open this small coffee shop, there were a whole lot customers. So he
        didn't have competitors.

        6 .Where does he live and what Lifestyle does he lead - expensive house/condo?
        = For some period of time, they would come to stay with Tik's parents house. Her mother's
        house is also a small grocery shop. It has been on business since 201 1. "Wan dee" is the name
        ofthe shop, which located in Baan San-Yaao 99/ 1 Moo. 3, Huai Krai sup-district, Maesai
        district, Chiang Rai Province. It's a one floor house and it is belong to her family.




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       7.ls he actually married to Khun Voranan?
       = They have not made the marriage registration but they had a wedding ceremony according to
       Tik's family traditional.

       8.When did they meet and bow did they meet?
       = They both met each other in England 8 years ago. Tik had a summer vacation and visited her
       friends there. A friend of her introduced Tik to Vernon. That was the beginning of their
       relationship.


       Additional information;
       I.Miss Woranan Ratrawiphukkun
       - Her previous na me was Suvimon Chomkeaw
       - born on       /1988
       -Age 30
       - Phone number
       - She used a car brand MG. Light blue color, plate no.         Chaing Rai
       - She's been working as a Secretary of Chief Executive of the SAO at Huai Krai SOA for 7
       years.
       - She worked in a chemical company in Bangkok.
       - She quit the job in Bangkok then moved back to her hometown, in order to open the grocery
       shop. Her mother's now running the shop.
       - She was married with a Thai person. She has a daughter/ 13-14 years o ld. The reason that she
       divorced was her ex-husband had a another lover.
       - Tik has one younger sister. Her sister is married and moved to another provice.
       - She graduated in Bachelor degree in Chaing Mai Rajabhat University, in management major.
       - She has her business, is manicures salon "Elegant nails & Beauty Spa". There are 2 branches

           1st Branch is located in front of Mae Fah Luang University
          Address: 489/ 1 Moo. l , Super high-way Road, Tha-Sud sub-district, Mae Fah Luang district,
       Chiang Rai province.
           2nd Branch
           Address: Baan doo 421 / 1 Moo. 3, Nang-Le sub-district, Mae Fah Luang district, Chiang
       Rai province.
       Open from 10.00 to 21.00 Hrs.

       - Her business is rnnning well, there are a lot of customers. Because there is not much
       competition. And it is her main income.
       - She has open her business since 2013. The rentals cost 8,000 baht/p month

       - He is fasc inated in cave exploration all over the word and he has been doing it for over 40
       years. He usually went with his team. He is planing about investing a tour business in Chaing
       Rai.




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       -They also have another business is importing digital Coffee Tampers. Since 20 16 Name:
       "Eazytamp Thai" it sells throughout the nation. T hey has opened this business since 20 16,
       they're both visiting many coffee shops.

       - They recently bought a piece of land, which is close to Ti.k's mother house about 2 km. they
       are planing to bu ild a ho use as well as a small resort there. Now it is a rice field.

       - Vernon has a cave exploration project again in T am-Huang soon. As the same time, he will
       a lso explo re a cave in Naan province with his team.

       - Vernon has left Thailand o n the 18th Ju ly 20 18 to England, then he w il l return on the 5 Sep 18
       at the Suvam abhumi A irport, Bangkok. His arrival at 3pm and Tile w ill fly to meet him at 4pm
       the airport.

       - They both w ill attend to the thanking party at 6pm-2 lpm the D usit Palace, Bangkok. The party
       was held by the Thai Government.

       - Vernon stays in Thailand by a Tourist V isa from the beginn ing. He somet imes extended his
       visa by crossing the border in Maesai district, sometime he went to Vientiane. The Thai
       G overnment will renew a type of visa for him for a long term stay.

       - He will stay in Thailand about 1 or 2 months then be w ill return to England.

       - Vernon was marred to an Eng lish lady and they have o ne son.

       - Vernon is older than Tile for 23 years, they started dating in late 2009

       K ind regards,
       James

       CEO - Qatar & UAE
       Jupiter M ilitary & Tactical Systems
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       On 17 Sep 2018, at 23:49, James Brickhouse < jbrickhouse l l @gmail.com> wrote:

        I'm available whenever you are.

        Also, what was the information source that suggested Unsworth has been going to Thailand
        since the 80's?

        On Mon, Sep 17, 2018 at 10:59 AM Jupiter Private < info@jupiter-private.com> wrote:
         Jim, I'm still here in Thailand and I am have not diverted my efforts away from the task or I
         would have informed you. I have been working hard with my Thai team as we last discussed.
         The time zones don't make it easy to communicate and as I had not heard from you I had
         presumed you where away with the principle. Disappointed you would think me so ready to
         abandon my post.

         I am on route back to Chiang Mai tomorrow and suggest we communicate at 1700 GMT for a
         de-brief

         Kind regards,
         James

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         On 17 Sep 2018, at 18:50, James Brickhouse < jbrickhousel l @gmail.com> wrote:

          James,

          It appears you have decided to focus on other efforts that don't include the Rowenta related
          work. Your last email was 5 days ago and it contained nothing relevant to this project. Only
          a reference to your efforts to getting the birth record, which I obtained on my own accord. If
          you have decided to focus elsewhere, that is fine, but I will expect funds to be returned.

          Thank you.

          On Fri, Sep 14, 2018 at 10:29 AM Jupiter Private < info@ jupiter-private.com> wrote:
           Jirn in transit I' ll call when I am free a little later.

           Kind regards,
           James

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          On 14 Sep 2018, at 18:19, James Brickhouse < jbrickhousel l @gmail.com> wrote:

           Any news?

           On Wed, Sep 12, 2018 at 7:49 AM Jupiter Military & Tactical Systems < info@ jupiter-
           private.com> wrote:
            Jim,
            Yes Ive been on the ground these past five days. I apologise for the lack of comms, my UK cell
            reception is not great and I have been in transit between Chiang Rai, Bangkok and Pattaya.

            Unsworth was not a liked man on the ground during the dive rescue. A number of the Dive
            centres in Pattaya have divers that assisted with logistics in the rescue and have mentioned to me
            over a few beer that Unsworth was difficult and that he's attracted negative press to the rescue
            efforts. Everyone knows that his comments where initially inflammatory and that it was his initial
            outburst that riled the principle. When asked if they thought or knew anything about Unsworth's
            past they all said that they had no proof and had not heard anything specific. Just that he is not an
            easy man to like.

            The update is that I am waiting this evening to meet with the Thai investigator and see if she has
            been able to secure a copy of the birth certificate that verifies the partner details one way or
            another. The dust has settled and its allot easier to move around the hotels and bars of Pattaya
            asking if they know Unsworth etc. I have met with one hotel owner and the records for the hotels
            which are a simple check in book are held by the previous hotel owner for the dates that interest
            us. I am meeting with him tomorrow as he is now retired but on the phone he has confirmed that
            he does have the old hotel registration books and will allow me to copy them . I will be staying in
            Thailand until we have exhausted all avenues and have completed the task.

            Update on Unsworth is that he is returning to the UK next week and has confirmed meetings with
            his legal team Howard Kennedy on Tuesday and Wednesday.

            I will keep you updated when I have further information.

            Kind regards,
            James

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             On 12 Sep 2018, at 04:33, James Brickhouse < jbrickhouse l l @ gmail.com> wrote:

             Also, I can help but think that after his random and unprovoked initial attack on our
             principle, he has made enemies. They will likely know his dirt.

             On Tue, Sep 11 , 2018 at 7:52 PM James Brickhouse < jbrickhouse l l @gmail.com>
             wrote:
              James,

              I didn't hear from you today. I suppose you've made it to Thailand by now? I look
              forward to an update. Clearly we'd like to gather as much relevant information as
              possible, but we of course need to ensure it is done carefully and legally. Has there
              been any progress in Pattaya?


              On Fri, Sep 7, 2018 at 2:21 AM Jupiter Military & Tactical Systems < info@ jupiter-
              private.com> wrote:
               Jim,
               Let me clear up the marriage issue. AIL the papers after the first Twitter fall out in the
               UK reported that Unsworth was marred. It was not until the investigation team spoke
               to her sister that we learnt that they have had a wedding but, they did not complete the
               necessary registration with the local authorities. They regards themselves as a husband
               and wife, this however is not legal in Thailand. If her age is 30 then they met when she
               was I 8/ 19. If she is in fact she is 40 then its they met when she was 28/29. The lead
               Thai investigator has arrived in Chiang Rai this morning to go to the town hall to
               obtain a copy of the birth certificate so we have proof you requested.

               What I am doing now is reviewing all the evidence as its collected and then verifying
               this myself I am also flying to Bangkok tomorrow morning to take charge of the
               investigation in Pattaya. I feel now that this is where the results will be found if they
               exists and I want to control the flow of information.

               I will report further developments later today.


               Kind regards,
               James Howard




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               On 6 Sep 20 18, at 20:00, James Brickhouse < jbrickhouse l l @gmail.com> wrote:

               Please assure your source that we will not expose him or his information. Please
               understand that as of this moment much of what you have told us can't be
               verified. Our request for actual documentation is to confirm that we are being given
               legitimate information. The info that you said was leaked to the press wasn't actually
               leaked to the press. It was an off the record comment (which disgracefully was not
               respected as such and instead published) meant to encourage the journalist to actually
               do some due diligence rather than simply make assumptions. It doesn't seem too
               difficult to get something verifying her age, a document confirming travel records or
               a copy of a newspaper article. These things are vital simply for us to know that we
               are getting legitimate information.

               Regarding your follow up comment, we were told numerous times that they were
               'married' (or formed a relationship) in her late teens (you said 18), but that she was
               quoted in a newspaper saying they met 7 years prior. Does a copy of that article
               exist? Can you send it along? It appears this narrative has changed, or information
               was relayed based on broad assumption and that's what has us asking for legit
               verification. Because based on that original narrative she would have actually been a
               chi ld/young teenager when they first met.




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              With that said, let's focus on what we can do now to be productive, move toward the
              objective and verify some of the key data. Do you have a definitive way to confirm
              her age? Have the guys found anything new in Pattaya?

              On Thu, Sep 6, 2018 at I 0: 14 AM Jupiter Military & Tactical Systems
              <info@ jupiter-private.com> wrote:
               Jim,
               Just to clarify the points you made. The investigation team in Chiang Rai was able to
               establish a number of important information. I made the assumption based on what
               was reported back to me that if her age is in-fact 30 and not 40 and that she has been
               married (not legally) but in a religious context for 7 years plus we also know that she
               was dating Unsworth for at least a further 3 years prior to this then she would have
               been in her late teenage years when they met. I believe I told you that I thought this
               would have been about 19. There is a big difference between 19 and 29 I agree, and
               an even bigger leap to being a child rapist. I do not know how anyone could come to
               that conclusion as neither ofus have ever mentioned children or rape in our
               conversations.

               Today is the Thai Governments big celebration with over 60,000 expected in
               Bangkok. Our source at the Embassy is naturally extremely concerned about his
               information being used by the 3rd parties in further exchanges with the media. What
               assurances can I give him? You require evidence that can be used by the foreign
               press to show Unsworth was a regular visitor to Pattaya which is a well known haunt
               for sex tourists. Yes, the team are in Pattaya and developing the best strategy to
               qualify the information we have and then hopefully finding someone who knows
               unsworth and will give a statement.

               The UK Embassy will be back to normal staffing tomorrow as it was closed this
               afternoon in preparation for this evenings event.

               I have taken onboard what you have said and ifl thought the information I gave you
               would be leaked to the press then we would have triple checked everything. This is
               not how we normally work. We would normally gather all the data we need to make
               our case findings and then go over it in fine detail and then present it.

               I am am gathering the information you require as quickly as humanly possible.

               Kind regards,
               James

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                On 6 Sep 2018, at 17:53, James Brickhouse < jbrickhousel l @gmail.com> wrote:

                James - I hope to receive additional information today. I assume the team is still
                engaged inPattaya?

                Also, as you may expect, I have spent time over the last 24 hours compiling the
                information you've provided. Not to beat a dead horse, but to briefly revisit the
                point below, you never did report that the target is a child rapist. However you
                undoubted ly understand where the principal was drawing this conclusion
                from. You reported in multiple phone conversations that the age of the target's
                girlfriend (believed to be his wife at the time) would have put her in her teens when
                they 'married' and that she was quoted in a Thai news article saying they first met 7
                years prior to that - which would have made her a very young teenager at the
                time. Some (all?) of this information has now proven to be wrong. They aren't
                married and her age is unconfirmed. I also haven't seen the Thai article you
                referenced. So while I agree that the comments by the principal were ill advised,
                you can understand that using the data you provided would have allowed him to
                draw this conclusion without you explicitly reporting it as fact.

                J

                On Wed, Sep 5, 2018 at 7:51 AM James Brickhouse < jbrickhouse l l @gmail.com>
                wrote:
                 There is no confusion where this is concerned. You have not reported this and I
                 have not communicated it either. I understand your concern about self
                 sabotage. A concern of mine as well.

                    On Wed, Sep 5, 2018 at 2:00 AM Jupiter Private < info@ jupiter-private.com>
                    wrote:
                     Jared, I would like to state the following. At no time have have I reported that the
                     target is a child rapist.

                    We need to be clear about what we are looking for. The target had a traveling
                    pattern that shows he spent time before he moved to Northern Thailand in
                    Pattaya. We are qualifying what the target did on his travels and will report back
                    as soon as we have that information.

                     What I can confirm is that he is about to launch libel action and we are working
                     as quickly as possible to defuse that action by clearing showing a behavioural
                     pattern that replicates a sex tourist. That task is now difficult time complete in a




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                 covert way. The recent buzznews comments will be big news in Thailand.
                 Tomorrow is the national celebration of the rescue & is still big news in Thailand.

                 I feel that an appropriate course of action is to try to avoid the public circus &
                 instruct Kieth Oliver to meet with Marc Stephens to open a channel of
                 communication whilst we attempt to continue our investigations. Every effort is
                 being made to ensure accuracy & we know this now may required as evidence in
                 a UK court & I would have to show how the evidence was collated.

                 I suggest a telephone call to discuss the strategy & impact.

                 Kind regards,
                 James

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                 On 5 Sep 2018, at O1:20, Jared Birchall < jaredbircba ll@grnail.com> wrote:

                  So are you saying you don't have the data gathered?


                  On Tue, Sep 4, 2018 at 3:53 PM Jupiter Military & Tactical Systems
                  < info@ jupiter-private.com> wrote:
                   Jim,
                   I appreciate that you need quick results. I am very confident that we will get
                   what we need from Pattaya.

                   I appreciate its open season on "the principle" holds the moral high ground and
                   right now the less said is more.

                   Elon has nothing to prove to anyone!! Unsworth made this happen, not Elon.

                   We know Vernon is a a'bad boy' and we are close to having the evidence we
                   need.

                   Jirn I cannot stress enough that we need some time to qualify the data.

                   We will have one shot to get this right and I intent to do so,

                   Kind regards,
                   James

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                                EXHIBIT 25




                                EXHIBIT 25



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 Messages - James




                                                             iMessage
                                                         8/24/18, 8:14 AM


            Jim please call when free. James

                                                          8/28/18, 9:55 AM


            Jim are you free for a conversation ?

                                                                                                     In 10 minutes




                                                         8/28/18, 3:20 PM


            Jim, in order to proceed as discussed I will need some additional funds. I
            am close to the limit of the 20k USO for the stage 1 of the investigation
            which is still ongoing.

            I will work with a very old friend Michael Smith who has a credible
            background and would be the right buffer to ensure there is zero cross
            contamination . I am sure you appreciate this has to be dealt with in a
            very sensitive way.

            https://en .m.wikipedia .org/wiki/Michael_ Smith_(newspaper_ reporter)

            Can you authorise a further 12k USO to expedite the second stages of
            the project as discussed.

            Please advise. James

                                             Yes, we can get it sent out first thing tomorrow. What is the timeline?

            Jim timeline is ASAP I am meeting Mike at 0800 GMT to begin the
            process. It has to appear organic & not contrived.

            Priority is to divert the story away from the principal and let the UK




                                                                                                           •-
            tabloids develop there story.


                                                                                                                       --.
                                                         8/28/18, 10:27 PM


                                          Would be ideal to have more than one publisher receive the info. I trust
                                          you are likely already doing this.

            100 %

            Plan is to reach out indirectly to 3/4 different newspapers & print &
            online.




                                                                                                                       Page 1 of 18




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 Messages - James




                                                                                      Sounds good. Hopefully soon.

            This will begin in 90 mins & then be pushed out today. The difficulties will
            be getting the editors to ok that line of enquiry & for them to feel this is a
            better story that the principles activities.




            It's hit & miss, the Sunday Papers may be the best bet. Timing is good
            as not much else of any significance is happening right now

            I'll call them update you this evening
                                                                                                                 •
                                         the capital of pedophilia. Among many other notables who have been
                                         caught is the Subway sandwich spokesman Jared. I'm sure there are
                                         others. Could even be part of the story: https://www.hollywoodreporter.
                                                                                                                 •
                                         A big part of this is the willingness to recognize the fact that Thailand is




                                         com/news/jared-fogle-tapes-subway-pitchman-835552

                                         Most in the world - especially in the US- don't understand this fact and
                                         Thailand goes to great lengths to keep it quiet. I'm told people regularly
                                         disappear when found exposing the 'land of smiles'. In the end, anything
                                         that uncovers a disgusting ongoing practice that just might protect some
                                         children is worth it. So it could easily be spun as: The possible
                                         explanation of Elon's accusation. The sad/real truth behind Thailand and
                                         ex pats.

            Agreed & will be spun in

            Unfortunately there is allot of truth in that story - the UK readers are
            already familiar with Thailand & it's culture to welcome & protect sex
            tourist. We call it 'Yellow Fever' where older men leave there wives for a
            young Thai friend.

                                                          8/29/18, 3:25 AM




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 Messages - James




           (8) Thailand Brit Divers Untold Story




              HI
              Y• we .,. rtterelted - please tel us more

              On29August20181t1L01,blng-.lt0n <l>lngl<ol<h~·com> -
                Ytmon UnsM>l1h II not the aunty'""" hi po,nya hlmloll to bl
                       • Thailand is the wa1d cap,tal or ~ I l a
                       • This man has (requenled 111alland sroc:e lho 80'1 - e"80lUaly -,ng to In divoroe IO l'is wire
                         In the UK.
                       • While the gucse of cave expbratjon ii creative, there are atn11Z1ng and extenlNe cev1ng
                         l)'llems In meny plocea 1M>Ugl'<>u1 the wa1d - not just In ll1alllnd.
                       • Even lho mc>11 - n t S<Jpporter ol 11111bod ooean, eat Thai k>od fN"'Y dly.
                       • He eventuafty marries I woman 30 years his minor - whom he met wtile she was a teenager.
                       • He had-· going to Thailand ror decadea berore mar,y1ng tter.
                       • She wasn1 lhe tirll gll1 he met - and deflnitely no1 the f'lrlt leenager he Interacted with
                 I   have,,.,,."''°""""°" end .._a Wyou ,re 1nt. . .18d In 1h11 atory

            Jim example of what we are doing with all the daily newspapers and
            Sunday papers

            Jim have you seen this

            http://www.dailymail.eo.uk/news/article-6108365/Elon-Musk-doubles-
            pedo-guy-claim-British-diver.html

                                                                                           8/29/18, 6:27 AM


            http://www.dailymail.eo.uk/news/article-6110117/British-cave-divers-
            mother-insists-son-taking-legal-action-against-Elon-Musk.html

                                                                                                                         So nothing out yet has your info?

            Are you up and free to speak ?

                                                                                                                                      In about 45 minutes

            Processing very very well




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 Messages - James




           <                                            Q)




            give me a call

            Friend on the Mail is keen.
            WOoong on something etse at
            moment . Can 1t wait a coup'8 of
            days?

                      "'k tlfflf'lg ,s crucial as ltn
                      story seems to be pecking up
                      momentum Couid you cOMect
                      me wrth 'fOUl friend at the Mall
                      ASAP? James




           m O>                                         0

            Daily Mail are now interested though Mick Smith. Thats the paper that
            will have the biggest impact




                                                                            8/29/18, 10:51 AM


            The principle is big UK news this evening




                                                                            8/29/18, 12:37 PM                                      •
                                                                                                                          wire was sent

                                                               Please let me know when you have word of a story with your narrative
                                                               being published.

                                                                            8/29/18, 7:52 PM


                                                             Other thought, maybe we consider the Australian press as well. The UK
                                                             press may be prone to protect one of their own.

                                                             Part of the narrative here needs to be the extreme level of darkness that
                                                             most don't know exists. The movies show some quirky and bizarre stuff
                                                             - but the extreme depths of horrific sex trafficking that actually occurs is
                                                             mostly hidden.

            Ok




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 Messages - James




                                        Also, while I've obviously pushed for immediate results, I also realize this
                                        may need the be a lengthy investigation. So let's continue forward with
                                        that in mind as well. Any additional expertise and resources, creative
                                        measures and strategies should be explored .

                                                        8/29/18, 10:12 PM


            Jim all understood

            Target is in the UK until Nov 5th when he will return to Chiang Rai for a
            family party.

            He's now Living with his mother in Braintree, Essex. Clearly he will be
            using this time to mount his legal response - I have images of the home
            & work addresses in Thailand.

            Target has been telling locals how much money the Principle is going to
            have to pay him etc so he's shown his hand & motivation




                                                           When you say work addresses. what work addresses?  •
                                          And did he recently go back to the UK? The story isn't as compelling if
                                          he's actually living in the UK.

            His wife & Vernon have an office above his wives mothers shop. I'll send
            over an email with all this info later this morning

                                          It would be good to verify when (if) he actually engaged council. Is that
                                          letter that was posted on twitter legitimate? or post dated?

            I will look into that

                                                  https://twitter.com/rmac18/status/1034817540495564801 ?s=12

            He arrived back in London 2 days ago specifically to meet with the UK
            Cave Council who are concerned at the PR fall out & to peruse his libel
            claim. 5 week visit to the UK - he's domiciles in Thailand

            Just heard from the team on the ground that we have quite allot of info
            coming in this morning & I w ill keep you updated

                                         How are we getting that info about the UK cave council? And related PR
                                         concerns?




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 Messages - James




                         Bill Whitehouse MBE
                      Vice chairman
                         British Cave Rescue Council
                         Reg. charity no. 1137252


                         01298.871661

                I have spoken to Bill Whitehouse as a rep of the UK Charity interested in
                the target as an ambassador

                Reached out from one charity to another to ask about possible skeletons
                in the cupboard & he let slip that this negative press was diluting the
                rescue story

                The Thai Gov will also be watching this develop with interest
          ,     YOGl'-W#"c.l •     0714        ., t H% -




                               •
              ( Search                                  Edit




                   Mark Stephens, C BE
                         Partner Dispute RQOluton
                            HowNd Kenftllldy LLP

                   0 •                    .. •

              --
              Mark_$tephensr>howard\cervl8dy.com




              -
              No.1 London Bridge

              SE19BG
                                                    •

                                                        •




               •0                  1.1     moo

                Mark Stephens is a punchy UK media lawyer

                I can only advise the family office to have a preliminary conversation with
                Kieth Oliver of Peters & Peters

                Stephens will be the UK legal adviser to the target




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 Messages - James




                                                                 Confirmed that he has been retained by unsworth?

            No

            But I can find out

            Later this morning

            I know another partner at the law firm

            Can make a social call & make a soft enquiry

            Who is heading up the legal response from your side

                                                                                         We are solidifying that now

                                                         8/30/18, 12:01 AM


                                            Interesting, looks like he retained a lawyer in the US, Georgia based L.
                                            Lin Wood .

            Yes

            But using a prominent UK to manage the target. You need to counter
            punch with a UK heavyweight

            I'm happy to reach out to Keith if you wish me to see if he has the
            appetite. In the UK the damages for libel would be about 100-125k given
            his low income & minimal damage as he had no reputation to speak of.
            In the USA it's a different calculation! As you know damages can be
            ridiculous

                                                             So you believe he'll file suit in both the US and the UK

            No I think he'll only file in the USA

            I will no more later

            He's going to be under pressure now from the cave diving community &
            the UK press. I will keep the pressure on all day as discussed

                                                          8/30/18, 2:42 AM




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 Messages - James




            ---·---
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                                                                                 8/30/18, 4:59 AM


               We are also looking into his diving qualifications? Checking to see if they
               are in date? Just thinking outside of the box. Although he was a
               volunteer it wouldn't look good for the Thai authorities if something was
               out of date etc.

               Have lots of images for you, do you use WhatsApp ?

                                                                                 No, but will set up shortly and circle back to let you know.

               Apologies

                                                                                 8/30/18, 7:11 AM


                                                                     Sent you an email asking for a comprehensive report to date. Do you
                                                                     have one?

               Jim just replied - in short I can put everything together to date for you .
               Can you call when free

                                                                                8/30/18, 11 :11 AM




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 Messages - James




                                                                                                I'll call in 3 minutes

                                                         8/30/18, 1:24 PM


            Jim I think there would be allot of value in speaking with Keith Oliver. You
            man have some options with superinjunctions which are popular in the
            UK and could dissuade and tie up the target. Happy to make an intro, it's
            an another avenue that should be explored . Rgds James

                                                                                   Ok, I'll circle back on that today.

            Might be an easy way to silence Unsworth in advance of any law suit &
            put allot of pressure on him

                                         Just confirming we are also exploring Australian and other international
                                         press that have unmasked these issues in the past?

            Affirmative

            I am spending all my time educating journalists

            Carrot & stick




                                                                                                                   I
                                           http://center4girls.org/human-trafficking-in-thailand-chiang-rai-province

                                           https://www.straitstimes.com/asia/se-asia/idyllic-thai-province-hides-a-
                                           dirty-secret

             Thank you for the information.

                                                        8/30/18, 11 ·03 PM


            Any further instructions

                                                                                              Any news on media?

            Too early for that

            Richard in Bangkok is following up the Australian media




                                         Just need to make sure the team in Thailand keeps digging. Creatively,
                                         extensively and when possible, aggressively.
                                                                                                                •
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 Messages - James




            Of course. But bear in mind I am the only link on the chain who knows
            who the beneficiary is. The Thai team & Richard all believe that this effort
            is for a children's charity in the UK. They are all professionals who will
            give 100%. I'm met with a partner of Howard Kennedy last night who
            confirmed that Unsworth has been to the London office for meetings. I
            suspect he's co-ordinating all this through a London law firm so they can
            manage the London newspapers. Please have a think about lawyering
            up in London. It won't have a cost to have a conversation and get an
            opinion and at least have someone ready to ascot quickly. In the UK it's
            about reaction times and skill. Allot can be done in the UK to protect Elon
            with superinjuctions to stop the other side from speaking to the press if
            that might damage 3rd party shareholders. You maybe served in the usa
            but I think Unsworth will want this managed by a UK firm. Happy to
            assist, please advise. Rgds James

                                                         8/31/18, 8:55 AM




                ..l. @
            Keith Oliver.vet

                                                         8/31/18, 1 :00 PM


            Jim do you have a secure Dropbox or equivalent I can use?

                                                         9/1/18, 12:14 AM


                                                                                      Let's discuss in the morning.

            Sure the report is large so wanted to send in this format. Any instructions
            from the principal?

            I'm proceeding with the UK surveillance as discussed

                                                         9/1 /18, 8:32 AM


            Jim update sent to you

                                                                                             Received , thank you.

                                                         9/1/18, 10:36 AM


            Jim would you like to chat through the report ?

                                                         9/1/18, 12:41 PM


                                                                                     Does in an hour or two work?

            Jim call anytime




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 Messages - James




                                                        9/2/18, 9:18 AM


            Jim I have an update for you. Please call when free

                                                        9/2/18, 12:39 PM


            Jim did you have time to think about a conversation with Keith Oliver to
            chat over options exchange NDA's etc.... I still believe that there is
            massive benefit in doing this for Elon.

                                                        9/3/18, 7:17 AM


            Target meeting Mark Stephens today at 1600 to put libel plan into place.
            Confirmed the UK office of Howard Kennedy will run the libel action
            through Mark Stephens

            Meeting is scheduled for 2hrs

                                                        9/3/18, 9:13 AM


            We will bin spin him tonight and again after he has left the UK back to
            Thailand

            Very happy demeanour




                                                        9/3/18, 11:23AM




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 Messages - James




            Jim I have deployed x3 investigators to Pattaya and I still believe there is
            value in the UK surveillance. My plan is to wait for the Pattaya evidence
            then package it up for the x2 journalist in Australia & x 2 in the UK who
            want to run this story in both daily and Sunday papers.

            Pattaya will take some time probably 7 days. There is a mountain of
            work to do there. I have used the 20k USD for the original investigation,
            in Thailand, the other 12k has gone into journalist development, which
            we are holding back on until we have the smoking gun.

            Can you authorise a further 20k USD ? This is to cover the UK
            surveillance and Pattaya investigation. James

                                                           Yes, I am hopeful that will get us where we need to be.

                                                        Can send tomorrow morning. Today is a US bank holiday.

            Understood we will proceed as discussed

                                                         9/4/18, 9:49 AM


            Jim, could you call when free. Have an update for you

                                                                               I just tried calling. Please call back.

                                                                   Just confirming the funds were sent on our end.

            Rgr that

                                            Can you confirm the hotel names in Pattaya? And you said 2 of them
                                            are considered standard destinations for expats with bad intentions,
                                            correct?

            Correct

            Penthouse Hotel x stays

            Dusit Thani - 4 week stay

            Penthouse hotel is purely designed for sex

            All of the hotels he stayed at & the apartment he used in 2009 are within
            100m of the red light area called 'walking st'

            What other purpose could there be for using a hotel with lap dancing
            poles in the rooms?




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 Messages - James




                                                        9/4/18, 11 :56 AM


            Jim, our goal is to get evidence from the penthouse which is obviously a
            big win. I'll keep you updated.

            I've text Keith Oliver to give him the gypsies warning about your phone
            call

            Jim was that enough information?

                                                                                                     yes, thank you

            Did you have any legal clarity from Keith ? I believe he could be a
            massive help in finding the path of least resistance. Rgds James

                                                                I called and left him a voicemail. He didn't pick up.

                                                        9/4/18, 2:28 PM


                                           https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-
                                           rescuer-accusations-buzzfeed-email

                                                                                                 Please call ASAP!

            1 min

                                                                                                        Ok, thanks

            Back at home

                                                        9/4/18. 5:23 PM


                                                                                                  So no summary?




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 Messages - James




                                                         9/4/18, 11:00 PM


            Was sent last night

                                                          9/5/18, 8:01 AM


                                                                                           Sorry, I can't talk right now.

                                                     Just taking off on a plane. Will be in the air for about an hour.

            Rgr

                                                          9/5/18, 9:07 AM


                                                                            The recent article says his girlfriend is 40.

            Yes we are checking with the investigating team, mother said 30

            Are you free

                                                                            Just landed and need to get off the plane

                                                         9/5/18, 10:21 AM


                                                    To reiterate, documented verifiable evidence is super critical.

            Jim all understood, we are retracing our footsteps to ensure accuracy. I
            understand your position. I am concerned & don't want to risk exposing
            our sources if the principle is likely to publish them. I have requested the
            info you need. I have relayed your timings request & I hope you have
            what you have asked for this time tomorrow 1800 GMT

                                         Please rest assured our intent is not to expose sources or any direct
                                         information that we shouldn't have. We understand the sensitive nature
                                         of the work.

            Understood but I want to get this right and I don't like or accept mistakes.
            I have run EP & investigations for George Soros and Paul Allen since
            2005 so I know the pressure you are all under.

            No Good Deed Goes Unpunished ....

                                                          9/6/18, 9:02AM


            Jim all uk embassy staff our at the Thai celebration & I am waiting for a
            report from Richard in Bangkok. I am also waiting for verification on the
            age of 'Tik'. I will update you as soon as I have an update.

                                                                                                          ok, thank you

                                                         9/6/18, 12·13 PM




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 Messages - James




                                              Have we check their social media accounts for history and age info?

            Jim, yes Tik's Facebook account which is the only social media she has
            does not list her age

                                                               Ok, is it public or private? And he doesn't have one?

            We are not looking at Vernon's age as we have that and yes he's has an
            lnstagram and Facebook acc. Both are private but our female
            investigator who has befriended the mother in on Tik's Facebook ace




                                                               Did one of the guys end up going to the celebration?

            Yes Richard is there to try and get close to the target to see if he can
            overheat any conversations

                                                                                                   ok, sounds good

            Jim please be assured everyone is going the extra mile on this. I
            appreciate the pressure you are under. I also want to deliver. I'll be up for
            another 6-8 hrs

                                            Ok, thank you. Based on developments in Pattaya, do you believe we
                                            will be successful in gathering any data from the Hotels? Or are they
                                            more prone to stonewall?

            Jim, honestly this is a hot topic in Thailand. The story is on all the TV
            channels. Right now it's like juggling lite sticks of dynamite. The most
            recent comments have made the investigation much more difficult. But
            yes I think we will be able to show that he was a man who lived in the
            pattern of a sex tourist but we need irrefutable proof before you sure that
            please.

            share

                                                                                                Of course. Agreed.

                                                          are we making any progress on verification of birth date?

            I've dispatched the Thai investigator back to Chiang Rai to obtain a
            driving license or birth certificate or national ID. This should not be
            difficult to obtain. As soon as she has a copy I will send this to you




                                                           9/9/18, 9:17 AM




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 Messages - James




            Jim will call you later to provide an update.

                                                            9/10/18, 6:23 AM


            Jim, I will call you at 0900 LA time. Op has picked up again after I have
            had a full debrief and we have agreed the strategy moving forward. It's
            probably a good thing that dust has settled a little bit.

                                                            9/10/18, 9:59 AM

            Jim are you free ?




                                                            9/12/18, 9:45 AM                                 -
                                                                                                What's the latest?

            Jim sent you an email. I will update you a little later on & call.

            Jim I'm in a bad signal area. I'll call you back when I've moved.

                                           ok. I was going to mention that someone sent what appears to be her
                                           birth record confirming she's 40. Very unfortunate to have had that
                                           wrong , but appears to be the case. But as you know this is only part of
                                           the equation. It seems near impossible that this guy has walked in the
                                           circles that he has, spent as much time there as he has and hasn't left
                                           some trail of his devious behavior. We must find that trail.

            Agree with that

            It would make sense about the birth certificate as we where told some
            else had applied for a copy. Seems an incredible mistake to make but
            perhaps the mother was just plain confused. At the end of the day the
            buck stops with me and I take full responsibility. As you say I still believe
            there is value in tracing his footsteps in Pattaya. We have plenty of
            budget left & with this mistake I won't be asking for funding. I don't what
            else to say, Jim. If we can get smoking gun that will go in some part to
            restore credibility.




                                                            9/18/18, 9:42 AM


            Jim please call when free

            Jim what time is good to call ?




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 Messages - James




            Jim we are having a wash up. The answer to your question about when
            Unsworth first came to Thailand was we believe 29yrs ago in the late
            80's. What is the latest from the law suit in the USA. Has this also been
            served in London ? Have you spoken to Keith & ta ken advice? James

                                                           9/19/18, 8:10 AM


            Jim I'm available to speak. My reception is not great so if you can't get
            through text me and I will move to a better place

                                                           9/20/18, 8:15 AM


            Jim just to confirm the information that Unsworth has been coming to
            Thailand for more than 2 decades came from his wife who befriended
            our female investigator. They are also getting hard evidence from Thai
            government channels of this. She was very clear that Unsworth regularly
            traveled to the Thai / Malaysia border to explore other cave networks
            many years before they met. I have asked for that evidence to support
            our end regardless of costs.

                                                          9/20/18, 10:45 AM


            Jim please bear with me it's Thailand and nothing happened quickly but
            the goods will come. I am very confident of that. I know it's slow but we
            are working in a 3rd world country and everything is analogue. I'm back
            up in Bangkok & will report back to you when we have what you need.
            James

                                               You've made some pretty specific claims that contradict his legal
                                               filing. But at this point we have nothing to confirm any of them. We
                                               need something, anything that can support your claims.

            Noted Jim and this is what has been reported to me so I am doing as
            you asked which is provide supporting evidence.

                                                           9/23/18, 8:55 AM


            Jim we believe we will have the evidence you require to dispute his
            travel claims this time tomorrow. Regards James

                                                          9/24/18, 12:01 PM


                                                                                                   Ok where is it?

            Jim it's coming to me. It's Thailand. It will materialise!! I'm not leaving to
            the UK until this is finished

                                                           10/2/18, 7:21 PM




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 Messages - James




                                          James - go back and review the information you've provided aside from
                                          the initial info. You've just about given us nothing. And you have given
                                          exactly nothing verified.
                                                                                                         Read 10/2/18

                                                        10/2/18, 11 :03 PM


            Will do so. We have given you all that we have found. Which to date is
            not allot apart from what I have sent. I'm travelling to France to bury my
            step-father & will be back in Bangkok this Friday. I put all the info we
            have in a spreadsheet and then relate the source & what has been
            verified & what we are not able to to confirm.




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                                EXHIBIT 26




                                EXHIBIT 26



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    From:        Jupiter Military & Tactical Systems
    Sent:        Sat 9/01/2018 8:14 AM (GMT-07:00)
    To:          "Jim Brickhouse" <jbrickhouse11@gmail.com>
    Cc:
    Bee:
    Subject:     Rowena Update 2
    Attachments: Project Rowena Update 200001.pdf; image00200002.jpg


    Jim,
            Some points for further discussion. Please call when free.




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                                   CLOSE HOLD




                        Project ROWENA Update 2
                            1st   September 2018




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    Subjects Full Name              Vernon Harry UNSWORTH

    Date of Birth                               1955

    UK Passport No.                 VERIFIED

    Issued London 28/09/2010

    Criminal Record Search          No civil or criminal charges have been recorded within t he United Kingdom or
                                    Thailand
    Sex Offender Register           No Sex Offenders registrations recorded w ithin t he EU

                                    EU Offender Search includes current and historical sex offender registration

                                    records from all EU member states t his also includes List 99 and the Interpol

                                    register.
                                    Please note that the type of crimes that require registration vary by EU member
                                    state therefore not all individuals convicted of a sex crime in one EU member state
                                    may be included in another EU member state's registry.
    Credit Check                    No adverse records or outst anding judgements recorded at the UK address
                                    provided above. No indication of financial stress.

    Current location -                                         Essex, CM7 lAP - Verified
    Owned by Mrs Vera Unsworth




    Investigation Update Thailand   Vernon Harry Unsworth
    Source: Mother, Sister in Law   He is fascinated in cave exploration all over the word and he has been doing it for
    & Neighbours.                   over 40 years. He usually went with his team. He is telling locals that should his
                                    libel action be successful he is planning to open a Cave tour business in Chiang
                                    Rai. Themed tours of the rescue with Vernon as the subject matter expert.

                                    He also had until recently another business importing digital Coffee Tampers.
                                    Established in 2016 and called "Eazytamp Thai" Unsworth claimes that these re-
                                    sell throughout the nation.

                                    The couple recently bought a piece of land, which is close to Tik's mother house,
                                    about 2 km. They are planning to build a house as well as a small resort there.
                                    Now it is a rice field. Before Unsworth left for the UK he told locals that the house
                                    he will now build will be double because of his libel action.

                                    Mr Unsworth has made an application to explore more caves in the Tam-Huang
                                    region and is hoping that the Discovery channel will be interested. At the same
                                    time, he will also explore a cave in Naan province w ith his team .




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                         Mr Unsworth will return to Thailand on the 5 Sep 18 at the Suvarnabhumi Airport,
                         Bangkok. His arrival time is at 1500 LCT and Tik w ill fly to meet him at 1600 Hrs
                         LCT.

                         They will both attend to the " thanking party" at 6pm-21pm at the Dusit Palace,
                         Bangkok. The party was held by the Thai Government. 60,000 people are
                         expected to join in these celebrations and Unsworth will be one of the guests of
                         honour.

                         Unsworth currently stays in Thailand by using a Tourist Visa which he has done so
                         for the last 7yrs. He sometimes extended his visa by crossing the border in the
                         Maesai district, sometimes traveling to Vietnam. The Thai Government will now
                         renew his Visa as he now has VIP Visa status as a result of the rescue, for a long-
                         term stay.

                         He will stay in Thailand about 8 weeks and he then plans to return to the UK.

                         Vernon was previously married to an English lady Vanessa Unsworth and they
                         have one son Nathan Unsworth.

     Next Steps          THAILAND
                         We are very confident that Unsworth was a frequent visitor to Pattaya Beach the
                         decade before he met Tik. We suspect this is where he developed his t aste for
                         young Thai girls. One of the lines of enquiry we are following is to go through the
                         archives of the UK embassy in Bangkok. This will begin on the 3rd Sept. On each
                         Visa application Unsworth would have had to have listed the hotel or apartment
                         that he was staying at duri ng his visit. If we can verify this, then we can pursue a
                         different line of enquiry and try to find 'sexpats' who runs bars/nightclubs in
                         Pattaya who may remember Unsworth. We have multiple sources from expats
                         who were on the rescue team and Unsworths Thai friends who all say that he
                         used to live in Pattaya before he met Tik.

                         UK
                         We will begi n active surveillance on Unsworth in the UK on Sunday 2nd September
                         until he returns to Bangkok. He has already met with renowned media specialist
                         Mark Stephens who is assisting in the potential claim. Stephens heads up Howard
                         Kennedy's media law and regulatory team and has represented a number of high-
                         profile clients including W ikileaks founder Julian Assange. Any libel actions
                         brought in the UK as defamation are much easier to bring than the USA and there
                         would also be jurisdictional issues given that Unsworth is a UK citizen. I will
                         confirm when he is meeting again with the Howard Kennedy team. I have a source
                         within the company who may be able to reveal some of the strategy and
                         timelines.

                         I would strenuously recommend that you use the services of Keith Oliver of Peters
                         and Peters. Keith knows mark Stephens very well and w ill be able to predict and
                         counter his next move. https://www.petersandpeters.com/lawyer/keith-oliver/

                         I would also recommend using Alexandra Marzec as the lead council in the team. I
                         think it's important you have someone who can manage the UK and International
                         press and have the face of a strong women behind the principle. It adds credibility
                         & ticks a number of the diversity boxes. http://www.Srb.com/member/alexandra-
                         marzec/




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     Subjects Full Name              Voranun Radravipakkun (Nickname - Tik) wife on Vernon Unsworth.

     Date of Birth                       November 1988

     Address in Thailand                                                           Chiangrai Thailand - VERIFIED




     Current location                Currently in Huai Krai (home village)


     Investigation Update            Q . When did Unsworth first move to Thailand?
     Source: Mother, Sister in Law   He moved to Thailand on a fulltime basis about 7 years ago. (He first visited
     & Neighbours.                   Thailand 19 years ago for his cave exploration & beach holidays the South of
                                     Thailand)

                                     Q. Why did he choose Chiang Rai, or was he based somewhere else previously -
                                     Pattaya etc.?
                                     The reason that he has chosen to live in Chiang Rai is because of the extensive
                                     local cave networks. Chiang Rai has plenty of interesting caves, especially in Tam
                                     Luang. He believes that he can still explore more about the cave networks.

                                     Secondly, his partner Kun Tik is from this hometown and also, she has a small plot
                                     of land. Tik also has to take care of her family i.e . her Father, Mother and
                                     Daughter (from an x-partner) and her job is close to Chiang Rai.

                                     Q . We understand he may have a coffee shop in Chiang Rai - is this his source of
                                     income?
                                     He opened a small coffee shop in 2016, named "Cha-Pa-Yorn" which it is located
                                     in Mae Fha Luang district . It w as a small coffee stand. It did not provide a source
                                     of income for Mr. Unsworth.

                                     Q. Where does he live         and what lifestyle does he lead -           expensive
                                     house/condo?
                                     For long periods of time, they would stay with Tik's parents house. Her mother's
                                     house is also a small grocery shop. It has been in business since 2011. "Wan dee"
                                     is the name of the shop, which located in Baan San-Yaao 99/1 Moo. 3, Huai Krai
                                     sup-district, Maesai district, Chiang Rai Province. It's a one floor house and it
                                     belongs to her family.

                                     Q. Is he actually married to Khun Voranan?
                                     They are not legally married and have not made an official registration, but they
                                     did have a wedding ceremony according to Ti k's family traditions.


                                     Q. When did they meet and how did they meet?
                                     They both met each other in England 11 years ago. Tik had a summer vacation
                                     and visited some student friends there. A friend of hers introduced Tik to Vernon.
                                     That was t he beginning of their relationship.


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                         Q . How old was she when they m et and what w a s she doing for a living at that
                         tim e?
                         During that time she met Vernon she was about 19 years old and at that time she
                         worked in a chemical company in Bangkok.

                         Additional information;
                         M iss Woranan Rat rawiphukkun
                         Her previous name was Suvimo n Chomkeaw
                         DOB         1988 Age 30
                         Phone number
                         Drives an MG. Light blue colour, licence plate no.         Chaing Rai
                         She is current ly working as a Secretary of Chief Executive of the SAO at Huai Krai
                         SOA for 7 years.
                         She left her old job in Bangkok & then moved back to her hometown in order to
                         open the grocery shop. Her mother now runs this store.

                         She has one daughter who is 14 years old. Tik also has one younger sister. Her
                         sister is married and moved t o anot her province.

                         She Graduated in bachelor's degree in Chaing Mai Rajabhat University in Business
                         Management .

                         She has another business called "Elegant Nails & Beauty Spa".
                         There are 2 branches:
                         1st Branch is located in front of Mae Fah Luang University Address:
                         489/1 Moo. 1, Super high-way Road, Tha-Sud sub-district, Mae Fah Luang district,
                         Chiang Rai province.

                         2nd Branch Address:
                         Baan doo 421/1 Moo. 3, Nang-Le sub-district, Mae Fah Luang district, Chiang Rai
                         province. Opening hrs from 10.00 t o 21.00 Hrs.

                         Her business is solvent with a strong repeat customer base. There is little no local
                         competit ion and this is her main source of income.
                         She o pened her business in 2013. The r entals cost 8,000 baht/ month. - $240 per
                         mont h




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                                        IMAGES




                          Tik in one the "Elegant" Nail Salons




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                          Images sent to Australian and UK Press

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                       Unsworth With a Taste for Younger Women




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                              Failed Coffee Business




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                             EXHIBIT 27




                             EXHIBIT 27



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    From : Sam Teller
    Sent:    Mon 7/15/2019 8:09 PM (GMT-07:00)
    To:      Jehn Balajadia
    Cc:
    Bee:
    Subject: Fwd: From James Howard - FAO Elon Musk - RE:Vernon Unsworth




    Begin forwarded message:

     From: Reyna Ortiz <reyna@spacex.com>
     Date: July 17, 2018 at 8:00:56 PM EDT
     To: Sam Teller <steller@spacex.com>
     Subject: Re: From James Howard - FAO Elon Musk - RE:Vernon Unsworth

     Nope don't believe so. Not sure how he got my email - just seemed a little odd what he mentioned.


     From: Sam Teller <steller@spacex.com>
     Date: Tuesday, July 17, 2018 at 4:59 PM
     To: Reyna Ortiz <reyna@spacex.com>
     Subject: Re: From James Howard - FAO Elon M usk - RE:Vernon Unsworth

     Have we interacted with this person before?

     On Jul 17, 2018, at 4:41 PM, Reyna Ortiz <reyna@spacex.com> wrote:

      FYI - Fine to ignore?


      From: Jupiter Private Office <info@jupiter-private.com>
      Date: Tuesday, July 17, 2018 at 8:51 AM
      To: Reyna Ortiz <reyna@spacex.com>
      Subject: From James Howard - FAO Elon Musk - RE:Vernon Unsworth

      Dear Reyna,
             I am having difficu lty contacting Elon. Could you pass on the email below. Like Elon I
      think that Mr. Unsworth has skeletons in his cupboard.

      Kind regards,
      James Howard
      CEO
      Jupiter Military & Tactical Systems
      +44 (O) 7917 401601
      +44(0)7388539104
      info@jupiter-privat e.com




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     www.jupiter-private.com
     <image001.jpg>




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     From: Jupiter Private Office [mailto:info@jupiter-private.com]
     Sent: 17 July 2018 16:03
     To: 'ElonMuskOffice@TeslaMotors.com'
     Subject: From James Howard - Vernon Unsworth - Past & Present

     Dear Elon,
               You may w ish to dig deep and look int o Mr. Unsworth past t o prepare for his defamation
     claim. No smoke without fire!
     I can discreetly assist & have a t eam in Bangkok.

     If you wish to engage please call me.

     Rgds,

     James Howard
     CEO
     Jupiter Military & Tactical Systems
     +44(0)7917 401601
     info@jupiter-private.com
     www.jupiter-private.com
     <image001.jpg>
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                             EXHIBIT 28




                             EXHIBIT 28



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    From:        <jaredbirchall@gmail.com> on behalf of James Brickhouse
    Sent:        Wed 8/15/2018 5:33 PM (GMT-07:00)
    To:          "Jupiter Military & Tactical Systems" <info@jupiter-private.com>
    Cc:
    Bee:
    Subject:     Re: Follow up from James
    Attachments: One Way Non-Disclosure Agreement For Contractor00001 .pdf



    Thanks, James. We've signed and attached the NDA.

    We'd like to be able to do this for $20,000 dollars. Does that work for you?

    Thank you,

    Jim


    On Wed, Aug 15, 2018 at 12:05 PM, Jupiter Military & Tactical Systems < info@ jupiter-
    private.com> wrote:
     Jim,
     Attached is the NDA which should be from you to me if I am the contractor if that makes sense.

     Investigations as I'm sure you will know can be time consuming and are event driven. I think I have a
     clear remit of what specifically you are looking for and the starting point would be in the UK and in
     Thailand.

     The UK end it quite straight forward but if there are any skeletons in the cupboard they are more likely to
     be in Thailand which is where I will centre the investigation.

     Typically I have always worked on a retainer with these types projects and I would prove this at two men
     for ten days at £900 GBP per day.

     That would be £18,000 for a full background investigation which would look at lifestyle choices for the
     target known associations, discreet enquiries in the target's place of work and relaxation.

     The target is unlikely to have a history of offending in the UK as this would already have come to the
     surface but I think like others that his motivations for residing in Thailand may unearth
     some unsavoury practises and relationships.

     I can provide professional references if requested.

     My career in short is 11 years in the UKSF and 2 years with the UK Security Services.

     Over the past 15 years I spent 10 yrs working for Vulcan Inc (Paul Allen) running his maritime and
     European EP and for George Soros.

     Please call if you have any questions at any time.




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     Kind regards

    James
    CEO - Qatar & UAE
    Jupiter Military & Tactical Systems
    Al Saad - Area 38
    Street No. 893
    Building No. 7
    P .O. Box 22509
    Doha, State of Qatar
    +44 (0) 7917 401601
    info@jupiter-private.com
    www.jupiter-private.com




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      On 15 Aug 201 8, at 18:40, James Brickhouse < jbrickhouse l l @gmail.com> wrote:

      EXCESSION, LLC

      On Wed, Aug 15, 2018 at 10:23 AM, Jupiter Private <info@jupiter-private.com> wrote:
       Jim, can you send me the corporation name and contact info for the NDA.

       Regards,
       James
       CEO -Qatar & UAE
       Jupiter Military & Tactical Systems
       893, Doha Expy, Doha, Qatar
       +44 (0) 7917 401601
       info@ jupiter-private.com
       www. jupiter-private.com
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      On 15 Aug 2018, at 18:18, James Brickhouse < jbrickbousel l @gmail.com> wrote:

       James,

       As discussed, please forward the NDA asap, as well as a cost estimate on what work like this
       might entail.

       Thank you,

       Jim

       Please call my cell anytime:




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                                                 EXCESSION LLC

                            NON-DISCLOSURE AGREEMENT FOR CONTRACTOR

    This Agreement governs the disclosure of information by EXCESSION LLC and/or its affiliates
    (collectively, "Excession") to James Howard ("Contractor"), as of the date listed below (the
    "Effective Date").

    1.      Confidentiality. Contractor agrees that information that is not generally known to the public
            to which Contractor has been or will be exposed as a result of its being engaged by
            Excession is "Confidential Information" that belongs to Excession. Confidential Information
            includes, without limitation: (a) business, technical or financial information relating to business
            models, proprietary technologies, contracts, leases, operations, properties, patents,
            trademarks, trade secrets, designs, strategic initiatives, business plans, accounting,
            merchandising, sales, and/or marketing; (b) information about Excession's employees; and
            (c) information about Mr. Musk, his family, his friends, and/or his business associates;
            information about Mr. Musk business or personal interests, assets, or properties (including
            interests, assets, or properties held in trust for Mr. Musk); and business or technical
            information related to any of Mr. Musk's business or personal interests. Confidential
            Information also includes information developed by Contractor, alone or with others, or
            entrusted to Excession by others.

    2.      Treatment and Use of Confidential Information. Contractor will: (a) hold Excession's
            Confidential Information in strict confidence, and not disclose or use it except as authorized
            by Excession and for Excession's benefit; (b) use Excession's Confidential Information for no
            purpose other than to evaluate or pursue a potential business relationship with Excession; (c)
            ensure that Excession 's Confidential Information is accessible only to those of its employees
            or authorized representatives who have a need to know and who have signed confidentiality
            agreements or are otherwise bound by confidentiality obligations at least as restrictive as
            those contained herein; (d) refrain from reproducing Excession 's Confidential Information in
            any form except as required to accomplish the intent of this A9reement; and (e) refrain from
            participating in the preparation of any book, article, story, video or film, and from giving
            interviews about, Mr. Musk, his family, friends, business associates or business or personal
            interests. Any reproduction of any Excession Confidential Information shall remain the
            property of Excession and shall contain any and all confidential or proprietary notices or
            legends that appear on the original, unless otherwise authorized in writing by Excession.
            Fallure to include such notices or legends will not alter or waive the status of the information
            as Excession 's Confidential Information. Contractor's agreements to protect Excession's
            Confidential Information apply both while Contractor is engaged by Excession and after its
            engagement ends, regardless of the reason it ends.

    3.       Exceptions. Contractor understands that this Agreement does.not limit Contractor's right to
            J,J_~lli-°-l'ID~Ofilfil..know~..a~perien_g.e,_w1Je1her or_nQ1_grun_oo_w~ngaged by
            Excession, Excession's Confidential Information does not include information that: (a) has
            entered the public domain through no fault of or breach by Contractor; (b) was in Contractor's
            possession free of any obligation of confidence at the time it was communicated to
            Contractor by Excession; (c) was rightfully communicated to Contractor free of any obligation
            of confidence subsequent to the time it was communicated to Contractor by Excession; (d)
            was developed by Contractor independently of and without reference to any information
            communicated to Contractor by Excession; or (e) Contractor must lawfully disclose in
            response to a valid order, statute, rule, or regulation of a governmental entity (provided that
            Contractor immediately notifies Excession of any such order, demand, or request, so that
            Excession may take any actions it deems necessary to protect its interests). Notwithstanding
            the foregoing, Contractor has the burden in any dispute of showing that information is not
            Excession's Confidential Information.
    4.      Third Party Information. Contractor understands it is Excession's policy not to improperly
            obtain or use confidential, proprietary, or trade secret information that belongs to third parties,
            including others who have employed or engaged Contractor or who have entrusted
            confidential information to Contractor. Contractor will not use for Excession's benefit, or
            disclose to Excession, confidential, proprietary, or trade secret information that belongs to



         V051003




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         EXCESSION LLC.
         NON-DISCLOSURE AGREEMENT FOR CONTRACTORS
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             others, unless Contractor advises Excession that the information belongs to a third party and
             both Excession and the owners of the information consent to the disclosure and use.

    5.       Inventions, Copyrights and Patents. Excession owns all Inventions and Works (see
             definition below) Contractor makes, conceives, develops, discovers, reduces to practice or
             fixes in a tangible medium of expression, alone or with others, either: (a) during Contractor's
             engagement with Excession (including past engagements, and whether or not during working
             hours); or (b) if the Invention or Work results from any work Contractor performed for
             Excession or involves the use or assistance of Excession 's facilities, materials, personnel or
             Confidential Information. Excession also owns all Inventions and Works of Contractor that it
             brings to Excession that are used in the course of Excession's business or that are
             incorporated into any Inventions or Works that belong to Excession.

             Contractor will promptly disclose to Excession, will hold in trust for Excession 's sole benefit,
             will assign to Excession and hereby does assign to Excession all Inventions and Works
             described in the prior paragraph, including all copyrights (including renewal rights), patent
             rights and trade secret rights, vested and contingent. Contractor will waive and hereby does
             waive any moral rights it has or may have in the Inventions and Works described in the prior
             paragraph. Contractor agrees that all Works it produces within the scope of its engagement
             (which shall include all Works Contractor produces related to Excession 's business, whether
             or not done during regular working hours) shall be considered "Works made for hire" so that
             Excession will be considered the author of the Works under the federal copyright laws. At
             Excession 's direction and expense Contractor will execute all documents and take all actions
             necessary or convenient for Excession to document, obtain, maintain or assign its rights to
             these Inventions and Works. Excession shall have full control over all applications for patents
             or other legal protection of these Inventions and Works. Nothing contained in this Agreement
             shall be construed as granting any proprietary rights, by license or otherwise, to any of
             Excession 's Confidential Information, or to any invention, patent, copyright, trademark, or
             other intellectual property right that has issued or may issue, based on such Confidential
             Information.

             "Inventions" means discoveries, developments, concepts, ideas, improvements to existing
             technology, processes, procedures, machines, products, compositions of matter, formulas,
             algorithms, computer programs and techniques, and all other matters ordinarily intended by
             the word "Invention", whether or not patentable or copyrightable. "Inventions" also includes
             all records and expressions of those matters. "Works" means original works of authorship,
             including interim work product, modifications and derivative works, and all similar matters,
             whether or not copyrightable.

             Contractor understa!Jds that this Agreement does not apply to any Invention or Work Q.f
             Q.ontra<;lQLlo.r_.Y!!_hicJJ_.!lQ_~!Jipment,_.lllJPPlie.ll~Jlacifil~...or..JIBde__sJ~GrllLlo.torm.s!!).orL.o!
             Excession was used and which was developed entirely on Contractor's own time, unless.Jl'l)
             the Invention or Work relates directly to Excession 's business or actu.;,I or demonstrably
             anticipated research or development, or (b) the Invention or Work results from any work
             Contrac1Qf performed for Excession .

    6.       Return of Excession Materials. Contractor will safeguard and return to Excession when its
             engagement ends, or sooner if Excession requests, all documents and property in its care,
             custody, or control relating to its engagement or Excession 's business, including without
             limitation any documents that contain Excession 's Confidential Information. Contractor shall
             immediately notify Excession upon discovery of any loss or unauthorized disclosure of
             Excession 's Confidential Information.

    7.       Non-raiding of Employees. So long as Contractor is engaged by Excession and for twenty-
             four (24) months after its engagement ends, regardless of the reason it ends, Contractor will
             not directly or indirectly solicit any employee to leave his or her employment with Excession .
             This includes that Contractor will not: (a) disclose to any third party the names, backgrounds,
             or qualifications of any Excession employees or otherwise identify them as potential
             candidates for employment; (b) personally or through any other person approach, recruit, or
             otherwise solicit employees of Excession to work for any other employer; or (c) participate in



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             any pre-employment interviews with any person who was employed by Excession while
             Contractor was engaged by Excession .

    8.       No Disparagement or Interference. Contractor will not disparage Excession or its business
             or products and will not interfere with Excession 's relationships with its customers,
             employees, vendors, bankers, or others. Contractor will not disparage Mr. Musk, his family,
             friends, business associates, or business or personal interests. These agreements apply
             both while Contractor is engaged by Excession and after its engagement with Excession
             ends, regardless of the reason it ends.

    9.        Other Employment While Engaged By Excession. While Contractor is engaged by
              Excession Contractor will not do work that competes with or relates to any of Excession 's
              activities without first obtaining Excession 's written permission. Any business opportunities
              related to Excession 's business, that Contractor learns of or obtains while engaged by
              Excession (whether or not during working hours), belong to Excession, and Contractor will
              pursue them only for Excession 's benefit

    10.      Disclosure of Other Work. Before Contractor undertakes any work for itself or anyone else
             during its engagement with Excession that will involve subject matter related to Excession 's
             activities, Contractor will fully disclose the proposed work to Excession.

    11.      Future Consulting or Employment for Excesslon. If Contractor's contract relationship with
             Excession ends but Excession engages Contractor as a consultant again or employs
             Contractor, then this Agreement shall apply to Contractor's later employment(s) or
             engagement(s) unless they follow a period of a year or more during which Contractor was
             neither employed nor engaged by Excession. If this Agreement becomes applicable to a
             consulting relationship, the references in this Agreement to Contractor's employment by
             Excession shall be treated, as appropriate, as referring to Contractor's consulting relationship
             with Excession.

    12.      No Conflicting Agreements. Contractor is not a party to any agreements, such as
             confidentiality or non-competition agreements, which limit its right to enter into this
             Agreement or its ability to perform its duties for Excession.

    13.      No Warranties. All Excession Confidential Information is provided "as is". Excession makes
             no warranties, express, implied, or otherwise, regarding the accuracy, completeness, or utility
             of such Confidential Information.

    14.      No Other Obligations. Nothing in this Agreement shall obligate Excession to enter into any
             further agreement or negotiation with Contractor or to refrain from entering into an agreement
             or negotiation with any third party.

    15.      Term and Termination. This Agreement shall terminate three (3) years after the Effective
             Date, or may be terminated by either party at any time upon thirty (30) days written notice to
             the other party. The Contractor's obligations under this Agreement shall survive termination
             of this Agreement.

    16.      Violation of Agreement, Costs and Attorney Fees, Governing Law, Venue and
             Jurisdiction, Enforceability and Waiver. If Contractor breaches this Agreement it will
             cause Excession irreparable harm. If Contractor breaches or threatens to breach this
             Agreement, Excession will be entitled to injunctive or other equitable relief as well as money
             damages. If Contractor breaches this Agreement, Contractor will hold in trust for Excession
             all income it receives as a result of the violation. Contractor consents to Excession notifying
             anyone to whom Contractor may provide services of the existence and terms of this
             Agreement. In any dispute arising out of or relating to this Agreement or Contractor's


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             engagement, including without limitation arising from any alleged tort or statutory violation,
             the prevailing party shall recover their reasonable costs and attorney's fees, including on
             appeal. This Agreement shall be governed by the internal laws of the State of Washington
             without giving effect to provisions thereof related to choice of laws or conflict of laws. Venue
             and jurisdiction of any lawsuit involving this Agreement or Contractor's engagement shall
             exist exclusively in state and federal courts in King County, Washington, unless injunctive
             relief is sought by Excession and, in Excession 's judgment, may not be effective unless
             obtained in some other venue. If any part of this Agreement is held to be unenforceable, it
             shall not affect any other part. If any part of this Agreement is held to be unenforceable as
             written, it shall be enforced to the maximum extent allowed by applicable law. Contractor's
             obligations under this Agreement supplement and do not limit other obligations Contractor
             has to Excession, including without limitation under the law of trade secrets. This Agreement
             shall be enforceable regardless of any claim Contractor may have against Excession. This
             Agreement shall survive the termination of Contractor's engagement, however caused. The
             waiver of any breach of this Agreement or failure to enforce any provision of this Agreement
             shall not waive any later breach. This Agreement is binding on Contractor, its heirs,
             executors, personal representatives, successors and assigns, and benefits Excession and its
             successors and assigns. This Agreement is the final and complete expression of Contractor's
             agreement on these subjects, and may be amended only in writing.

    DATED this .1filh day of Al.!gYfil 2018.

    EXC~                                                    By:
    By: -1-~~ =,.............,.._ _ _ _ _ _ _ __

    Name: Jared Birchall
                                                            Name: James Howard
    Title:    Manager
                                                            Title: Chief Executive
    Address:
                                                            Address: Jupiter Military & Tactical Systems
         PO Box 49258                                                Al Saad - Area 38
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                                                                     Building No. 7
                                                                     P.O. Box 22509
                                                                     Doha,
                                                                     State of Qatar




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